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UNI'I`ED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF_ILLINOIS
EASTERN DIVISION

 

     

 

 

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: 5 2004
UNITED STATES SECURITIES :
AND EXCHANGE CQMMISSION,
Plaintiff, . ' _
: CIVIL ACT
v. : FILE No. JHEGE HART
CONRAD M. BLACK, F. DAVID RADLER ~. JURY TRlAL DEMANDED
__AND HoLL_lNGER, INC. :
. 7 _ _ : 93

Defendants_ §Aersrsms sewer 1. scHENKIER_ 3 §§ n

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UNI'I`ED STATES SECURITIES AND EXCHANGE COMMI ION'$‘_§§:§ o §
COMPLAINT FOR PERMANENT INJUNCTION AND Q§}=§ '£': g
OTHER EQUITABLE RELIEF g §§ F_:».
23 m
Plaintiff United States Securities and Exchange Commission (“Comrnission’$) `“‘
alleges as folloWs'.

NATURE OF THE ACTION
1.

 

During the period from at least 1999 to at least 2003, Defendants

Conrad M. Black (“Black”) and F. David Radler (“Radler”) engaged in a fraudulent and

deceptive scheme to divert cash and assets from Hollinger Intemational, Ine. (“Hollinger

lnternational”), a public company that owns and operates newspaper publishing

businesses in the United States and abroad, and to conceal their self-dealing from
_Hollinger Internatienal’s public shareholders
2. Black, Hollinger lnternational’s fenner Chairman and Chief `Executivel

Officer (“CEO”), and Radler, its former Deputy Chairlnan, President and Chief Operating

Offlcer (“COO”), conducted their scheme through a Series of related party transactions

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involving, among other things, purported “non-competition payments” by which Black
and Radler diverted to themselves, to Defendant Hollinger, Inc., a Canadian public
holding company controlled by Black, and to other corporate insiders approximately $85
million of the proceeds from Hollinger International’s sale of newspaper publications to
third parties.

3. Black and Radler also orchestrated the sale of Hollinger International’s
newspaper publications at below-market prices to another privately-held company owned
and controlled by Black and Radler, including a $1.00 transaction

4. In addition, in February 2003, Black authorized the investment of $2.5
million of Hollinger International’s funds in a venture capital fund with which Black and
two other directors of Hollinger International were affiliated

5. Moreover, in November 2003, Black approved a press release issued
by Hollinger lnternational in which he misled the investing public about his intention to
devote his time to an effort to sell Hollinger lnternational assets for the benefit of all of
Hollinger Intemational shareholders (the “Strategic Process”) and not to undermine that
process by engaging in transactions for the benefit of himself and Hollinger, lnc.

6. To perpetrate their scheme, Black and Radler misrepresented and
omitted to state material facts regarding the related party transactions to Hollinger
International’s Audit Cornrnittee and Board of Directors. Black and Radler also
misrepresented and omitted to state material facts regarding these related party
transactions in Hollinger Intemational’s filings with the Commission and during

Hollinger International shareholder meetings

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7. Black and Radler, directly and indirectly, have engaged and, unless
enj oined, will continue to engage in acts, practices, and courses of business that violate
Sections lO(b), 13(b)(5) and l4(a) of the Securities Exchange Act of 1934 (“Exchange
Act”) [15 U.S.C. §§ 78j(b), 78m(b)(5), and 78n(a)] and Rules 10b-5, 13b2-l, 14a-3 and
14a-9 [17 C.F.R. §§ 240.10br5, 240.13b2-1, 240.14a-3 and 240.14ar9] thereunder, and,
as control persons of Hollinger International, Sections 13(a) and lB(b)(Z)(A) and
lB(b)(.’l)(B) of the Exchange Act [15 U.S.C. §§ 78m(a), 78m(b)(2)(A) and 78m(b)(2,)(B)]
and Rules le-ZO, l3a-1, and 13a-13 [17 C.F.R. §§ 240.12b-20, 240.13a-1, and 240.l3a-
13] thereunder.

8. Black, directly and indirectly, has also engaged and, unless enjoined,
will continue to engage in acts, practices, and courses of business that violate Exchange
Act Rule 13a-14 [17 C.F.R. §§ 240.l3a~14].

9. Hollinger, Inc., directly and indirectly, has engaged and, unless
enjoined, will continue to engage in acts, practices, and courses of business that violate
Sections lO(b),-l3(a), l3(b)(5) ofthe Exchange Act [15 U.S.C. §§ 78j(b), 78m(a) and
78m(b)(5)] and Rules 10b~5, l3a-l, 13a-16 andl3b2'l [17 C.F.R. §§ 240.10\)~5, 240.13a-
1, 240.13a-16 and 240.13b2-1] thereunder and, as a control person of Hollinger
International, Sections l3'(a) and lB(b)(Z)(A), lB(b)(Z)(B) and l4(a) of the Exchange Act
[15 U.S.C. §§ 78m(a), 78m(b)(2)(A) and 78m(b)(2)(B), 78n(a)] and Rules 12b-20, l3a-l,
13a-l3, 14a-3 and 14a-9 [17 C.F..R §§ 240.12b-20, 240.13a~l, 240.13a-l3, 240.14a-3

and 240. l4a-9] thereunder.

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10. The Cornrnission brings this action to enjoin such acts, practices and
courses of business pursuant to Sections 20(a), Zl(d) and 21(e) of the Exchange Act [15

U.s.c. §§ rst(a), rsu(d), ana 7su(e)].

JURISDIC'I`ION AND VENUE

ll. The Court has jurisdiction over this action pursuant to Sections 21(e)
and 27 of the Exchange Act [15 U.S.C. §§ 78u(e), 78aa] and 28 U.S.C. § 1331. Venue is
proper in this Court pursuant to Section 27 of the Exchange Act [15 U.S.C. § 78aa].

12. The acts, practices and bourses of business constituting the violations
alleged herein have occurred within the jurisdiction of the United States District Court for
the Northern District of lllinois and elsewhere

13. Black, Radler and Hollinger, Inc. (collectively “Defendants”), directly
and indirectly, made use of the means and instrumentalities of interstate commerce and of
the mails in connection with the acts, practices, and courses of business alleged herein.

14. Defendants Will, unless enjoined, continue to engage in the acts,
practices and courses of business set forth in this complaint, and acts, practices and

courses of business of similar purport and object

DEFENDANTS

CONRAD M. BLACK
15. Blaok, age 60, is a British citizen who has residences in London,
England, Palm Beach, Florida and Toronto, Canada. From approximately 1978 until
November 19, 2003, Black Was the CEO of Hollinger International. From approximately

October 1995 until lanuary 17, 2004, Black was the Chainnan of the Board of Directors

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of Hollinger lnternational (“Board”) and was a member of the Board’s Executive
Committee (the “Executive Comrnittee”).

16. During the period from at least 1998 through November 2, 2004,
Black was the Chairman of the Board of Directors and CEO of Hollinger, Inc. Black,
through his personal holding company The Conrad Black Capital Corporation, owns
65.1% of The Ravelston Corporation Limited (“Ravelston”), a private Canadian
corporation Ravelston, directly and indirectly, owns approximately 78% of Hollinger,
Inc.’s stock. Black is the Chairman and CEO of Ravel_ston.

17. Black is also a member of the Strategic Advisory Board of Trireme
Partners LP, a venture capital fund. ln 2003, Hollinger international made a $2.5 million
investment in Trireme Associates LLC, the general partner of Trireme Partners, LP.

18. Frorn at least 1999 through 2003, Black signed Hollinger
lnternational’s annual reports on Forms 10-K as Chairman, CEO and a Director of
Hollinger lnternational. From approximately August 2002 to August 2003, Black also
certified Hollinger lnternational’s annual and quarterly reports filed with the Commission
pursuant to the Sarbanes-Oxley Act of 2002 (“Sarbancs-Oxley Act”).

19. ln 1982, in SEC v. Norceri Energv Resources, Ltd. and Conrad M.
M, Exchange Act Release No. 9719, 1982 SEC LEXIS 1253 (July 20, 1982), Black
consented to the entry of a Final Judgment of Perrnanent Injunction enjoining him from
further violations of Sections 10(b), 13(d) and 14(e) of the Exchange Act and Rules 10b-
5, 12b-20, 13d-1 and 13d-2 thereunder in connection With the common stock of M.A.

Hanna Company or any security of any other issuer.

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F. DAVID RADLER

20. Radler, age 61, is a Canadian citizen and resides in Vancouver,
Canada. During the period 1999 through November 2003, Radler resided in Chicago,
Illinois and worked out of the Chicago Sun-Times building in Chicago, Illinois. Froin at
least 1998 until his resignation on November 17, 2003, Radler was Deputy Chairman,
President, COO and a Director of Hollinger International. Radler was also a member of
Hollinger Intemational’s Executive Committee.

21. Radler is also the Deputy Chairman and COO of Hollinger, Inc.
Radler owns approximately 14.2% of Ravelston stock through F.D. Radler Limited. He
is also the President of Ravelston.

22. From at least 1999 through 2003, Radler signed Hollinger
International’s annual reports on Forms lO-K as Deputy Chairman, President, COO and
Director of Hollinger International.

HOLLINGER, INC.

23. Hollinger, Inc. is a publicly-held Canadian company with its principal
place of business located in Ontario, Canada. Hollinger, Iric. is a foreign private issuer
registered with the Commission pursuant to Section 12(g) of the Exchange Act.
Hollinger, Inc.’s shares are traded on the 'l`oronto Stock Exchange under the symbol
HLG.

24. Hollinger, lnc. failed to file its 2003 Forrn 20-F with the Commission_

Hollinger, Inc.’s 2003 Form 20-F was due on June 30, 2004.

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25. Hollinger, Inc. is a mutual fund company whose primary holding is its
shares of Hollinger International stock. During the relevant period, Hollinger, Inc. had
no operations

26. During the period from at least 1998 through the present, Hollinger,
Inc. has been the controlling shareholder of Hollinger Interriational through its direct and
indirect ownership of all of the shares of Hollinger lnternational’s Class B Common
Stock, which has a 10-to-1 voting preference over shares of Hollinger International’s
Class A Common Stock.

27. Other shareholders hold the majority of the Class A shares and
together own the majority of the equity in Hollinger International. As of the date of the
filing of this action, Hollinger, Inc. owns approximately 18.2% of the combined equity
but holds approximately 68% of the combined voting power in Hollinger International.

OTHER RELATED ENTITIES AND INDIVIDUALS

28. Hollinger International is a Dclaware corporation, with its principal
place of business in Chicago, Illinois. Hollinger lnternational is a public company that
owns and operates newspaper publishing businesses in the United States and abroad.
Hollinger lntemational’s shares are registered with the Commission under Section l2(b)
of the Exchange Act, and its Class A common stock Shares are traded on the New York
Stock Exchange under the symbol HLR. Hollinger lnternational’s Class B Common
Shares are directly and indirectly owned by Hollinger, Inc.

29. From approximately 1998 through June 2004, Hollinger Intemational
owned, through its wholly-owned subsidiaries the Chicago Sun-Tirnes, The Daily

Telegraph in London, England, The Jerusalem Post in Israel and several other

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publications On July 30, 2004, Hollinger lnternational sold The Daily Telegraph for
approximately $1.3 billion to Press Acquisitions Limited (“Press Acquisitions”), a
company owned by David Barclay and Frederick Barclay (thc “Barclays”), two brothers
who own several media and retail assets in England and Europe.

30. Ravelston is a privately-held Canadian corporation Ravelston
beneficially owns approximately 78% of Hollinger, lnc.’s stock. Ravelston is the
controlling shareholder of Hollinger, Inc. Ravelston is owned and controlled by Black
and Radler, who, through the Conrad Black Capital Corporation and F.D. Radler,
Limited, indirectly own 65.1% and 14.2% of Ravelston, respectively Black is the
Chairman and CEO of Ravelston. Radler is the President of Ravelston.

31. Horizon Publications, Inc. (“Horizon”) is a private Delaware
corporation Since its formation in 1999, Black and Radler, directly or indirectly, have
owned approximately 75% of Horizon. Horizon has several wholly-owned subsidiaries
which are directly or indirectly controlled by Black and Radler. Black is the Chairman
and CEO of Hon`zon. Radler is the President and COO of Horizon.

32. Trireme Associates LLC is the general partner of Trireme Partners
LP7 a venture capital fund. Trireme Associates LLC receives approximately 20% of the
profits of Trireme Partners LP, after initial invested capital repayments are made.
Trireme Associates LLC controls Trireme Partners LP. Trireme Partners LP is managed
by Trireme Management LLC which has its principal office in New York.

33. Peter Y. Atkinson (“Atkinson”), age 57, is a Canadian citizen who
resides in Canada. From 1996 until April 27, 2004, Atkinson served as an Executive

Vice President and Director of Hollinger lnternational. During the period 1996 through

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2001, Atkinson was the Vice President and General Counsel of Hollinger, Inc. ln-2002
or 2003, Atkinson became the Executive Vice President of Hollinger, Inc. and remained
in that position until January 2004, when he resigned Atkinson directly or indirectly
owns approximately 0.98% of Ravelston.

34. John A. Boultbee (“Boultbee”), age 61, is a Canadian citizen who
resides in Canada. From 1990 until 1995, Boultbee served as a Director of Hollinger
International. From 1995 through 2002, Boultbee served as Hollinger International’s
Chief Financial Officer (“CFO”), and in 1998, Boultbee became Executive Vice
President of Hollinger lnternational. During the period 1999 through 2002, Boultbee
signed many of Hollinger Intemational’s quarterly reports on Forrns 10-Q as Executive
Vice President and CFO of Hollinger lnternational.

35. From 1998 through the present, Boultbee has been a member of
Hollinger, Inc.’s Board of Directors and has held various positions as an officer,
including Vice President of Finance and Treasury, Executive Vice President and CFO.
Boultbee is also an Executive Vice President of Ravelston. Boultbee directly or
indirectly owns 0.98% of Ravelston.

36. Mark S. ijnis (“Kipnis”), age 56, resides in Northbrook, Illinois.
From January 1998 until November 2003, Kipnis served as the Secretary and Vice
President, Law of Hollinger lntemational. Kipnis also served as general counsel for
Hollinger International’s Chicago owned and operated papers

37. Kipnis signed Hollinger lnternational’s proxy statements and the

Notices of Annual Meeting of Stockholders which were filed with the Commission_

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Kipnis also signed Hollinger lnternational’s filings on Forms S-K as Vice President,
Corporate Counsel and Secretary of Hollinger International.

38. Richard N. Perle (“Perle”), age 63, resides in Chevy Chase,
Maryland. Perle has been a Director of Hollinger International since 1994. From 1994
until 1998, Perle served on the Audit and Compensation Committees of Hollinger
lnternational’s Board. From 1994 until November 2003, Perle served on the Executive
Committee of Hollinger Intemational, which was comprised of Perle, Black and Radler.
From 1996 through November 2003, Perle was the Co-Chainnan of Hollinger Digital, a
subsidiary of Hollinger International.

39. Perle is a member of Trireme Management LLC, the company that
manages Trireme Partners LP. Perle is entitled to receive approximately 5% of the 20%
share of the profits that Trireme Associates LLC receives from Trireme Partners LP.
Perle solicited Dr. Henry A. IGssinger (“Kissinger”), an outside director on Hollinger
Inteniational’s Board, to become a member of the Strategic Advisory Board of Trireme
Partners LP, along with Black.

BLACK CONTROLS HOLLINGER INTERNATIONAL
THROUGH AN INTRICATE OWNER§HIP ANJD CORPORATE STRUCTURE

40. Black, through The Conrad Black Capital Corporation, owns
approximately 65.1% of Ravelston. Black is also the Chairman and CEO of Ravelston.
Black controls Ravelston.

41. Ravelston owns approximately 78% of Hollinger, Inc.’s common stock
and controls Hollinger, Inc. Black, through Ravelston, controls Hollinger, Inc. Until

November 2, 2004, Black also controlled Hollinger, Inc. as its Chairman and CEO.

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42. From at least 1998 to the present, Hollinger, lnc. has been the
controlling shareholder of Hollinger liitemational through its direct and indirect
ownership of all of Hollinger lnternational’s Class B Common Stock, which has a lO-to-l
voting preference over shares of Hollinger lntemational’s Class A Common Stock.
During the period 1998 through the present, Hollinger, Inc. also held several million
shares of Hollinger lnternational’s Class A Common Stock.

43. By virtue of its ownership of Hollinger lnternational’s stock,
Hollinger, Inc. is in a position to direct management policy, strategic decisions and
financial decisions of Hollinger International and to control substantially all actions
requiring the approval of Hollinger International shareholdersl

44. Black, through his ownership and control of Ravelston, controls
Hollinger, Inc., and through his ownership and control of Hollinger, Inc., controlled
Hollinger International through at least 2003.

45. From at least 1998 through at least 2003, Black held himself out to the
world as being able to control Ravelston, Hollinger, Inc. and Hollinger lnternational.

THE FRAUDULENT NON-COMPETITION TRANSACTIONS

46. From approximately 1999 through 2001, Black and Radler
fraudulently diverted at least $85 million from Hollinger lnternational to themselves
Hollinger, Inc., Ravelston and other corporate insiders in the form of purported “non-
comp etition” payments

47. The purported non-competition payments were made in connection
with Hollinger Intemational’s sales of its U.S. and Canadian newspaper properties in a

series of transactions known as the American Trucker; Community Newspaper Holdings,

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Inc. (“CNHI l”); Horizon; Forum Communications Company (“Forum”); PMG
Acquisition Corporation (“Paxton”); Newspaper Holdings, Inc. (“CNHI lI”); and
CanWest Global Communications Corporation (“CanWest”) transactions

48. As a result of these purported non-competition payments portions of
the sale proceeds which should have gone to Hollinger Intemational were diverted to
Black, Radler, Hollinger, Inc. and their associates

_ 49. In 1999 and 2000, Hollinger, Inc. received purported non-competition
payments totaling $16.55 million in connection with Hollinger lnternational’s sale of
U.S. newspaper properties During this period, Hollinger, Inc. was a Canadian mutual
fund company with no operations The purchasers of these newspaper properties did not
request that Hollinger, Inc. execute non-competition agreements

50. Of the $16.55 million in total purported non-competition payments
made to Hollinger, Inc., $15.2 million was received in 1999. This 315.2 million
constituted approximately 15.6% and 27% of the reported total income and net income,
respectively, on Hollinger, lnc.’s unconsolidated statement of income and expenses for
the 1999 fiscal year. Hollinger, lnc. used this money to repay debt it owed to Hollinger
lnternational.

51. ln 2000 and 2001, Black and Radler each received purported non-
competition payments totaling approximately 819 million in connection with the sales of
Hollinger International’s U.S. and Canadian newspaper properties Atkinson and
Boultbee each received purported non-competition payments totaling approximately $1.9
million Ravelston received a purported non-competition payment of approximately

$26.3 million

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52. None of the purchasers of Hollinger lnternational’s U.S. newspaper
properties requested that any individual officer of Hollinger International sign a non-
competition agreement Black, Radler, Atkinson and Boultbee did not execute non-
competition agreements in connection with certain of the U.S. newspaper sale
transactions On one occasion, Black and Radler engineered purported non-competition
payments to themselves for their agreements not to compete with a wholly-owned
subsidiary of Hollinger International in the absence of any purchase or sale of
newspapers

53. 'l`he $15.2 million in purported non-competition payments made to
Hollinger, Inc. in 1999 constituted approximately 3.7% of Hollinger International’s
reported earnings before income taxes, minority interest and extraordinary items (“pretax
income”) and 6.2 % of its reported net earnings for the 1999 fiscal year.

54. Approximately $63.4 million in purported non-competition payments
were made to Hollinger, Inc., Ravelston, Black, Radler, Atkinson and Boultbee in 2000.
These payments constituted approximately 11.6% of Hollinger lnternational’s reported
pretax income and 54.2% of its reported net earnings for the 2000 fiscal year.

55. Black, Radler, Boultbee and Atkinson received a total of at least
86,100,000 in purported non-competition payments in 2001. ln 2001, Hollinger
International reported a pretax loss of ($361,620,000) and net loss of ($337,506,000).

56. The approximately 884.7 million in total purported non-competition
payments constituted approximately 14.1% of Hollinger lnternational’s total pretax

income and 340.1% of its net earnings for the three-year period from 1999 through 2001.

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57. Pursuant to Hollinger Inteniational policy and practice, related party
transactions were to be reviewed and approved by the Audit Committee of Hollinger
International’s Board of Directors (“Audit Committee”).

58. '1`0 perpetrate their scheme, Black and Radler made misstatements and
omissions of material fact, as described in greater detail below, regarding the purported
non-competition payments to Hollinger International’s Audit Committee and to Hollinger
International’s Board.

59. Black and Radler also signed Hollinger International’s filings with the
Commission Which contained misstatements and omissions of material fact regarding the
purported non-competition payments

60. Hollinger, Inc. made misstatements and omissions of material fact
regarding the purported non-competition payments in its responses to Hollinger
Intemational’s proxy questionnaires and in Hollinger, lnc.’s filings with the Commission.

THE AMERICAN TRUCKER TRANSACTION

61 . On or about May 11, 1998, Hollinger lnternational and a Hollinger
lnternational subsidiary entered`into an asset purchase agreement to sell certain assets,
including the American Trucker publication to Intertec Publishing Corporation
(“lntertec”) for approximately $7 5 million (the “Arnerican Trucker transaction”).

62. Hollinger International and the subsidiary executed a non-competition
agreement as part of the American Trucker transaction The asset purchase agreement
provided that $2 million would be paid to Hollinger lnternational as consideration for the

non-competition agreement at closing.

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63. Radler signed the asset purchase agreement and the non-competition
agreement on behalf of the subsidiary and Hollinger International.

64. Hollinger, Inc. Was not a party to and did not sign the asset purchase
agreement or the non-competition agreement

65. The transaction closed in l\/Iay 1998, and 82 million was paid to
Hollinger Intemational as consideration for the non-competition agreement

66. On or about May 1, 1998, the Hollinger International Executive
Committee, consisting of Black, Radler and Perle, approved the proposed sale to Intertec
for approximately $75 million and Hollinger lnternational’s execution of a non-
competition agreement in exchange for consideration of approximately $2 million

67 . ln or about February 1999, Radler caused $2 million to be paid by
Hollinger Intemational to Hollinger, Inc. as a purported non-competition payment in

connection with the American Trucker transaction

68. Hollinger, Inc. used this payment to repay debt it owed to Hollinger
Intemational.
69. Hollinger, Inc. failed to disclose the 82 million purported non-

competition payment in its response to Hollinger International’s proxy questionnaire for
the 1999 fiscal year.

70. Black and Radler failed to disclose the $2 million purported non-
competition payment to Hollinger, Inc. to Hollinger lntemational’s independent directors

or to its Audit Committee.

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71. The $2 million purported non-competition payment to Hollinger, lnc.
Was not disclosed in any of Hollinger Intemational’s filings with the Commission until it
was disclosed in a November 17, 2003 press release filed with a Form 8-K.

72. Black, Radler and Hollinger, Inc. knew or were reckless in not
knowing that Hollinger lnternational’s filings with the Commission were materially false
and misleading because they failed to disclose the 82 million purported non-competition
payment to Hollinger, Inc.

THE CNHI I TRANSACTION

73. On or about February 1, 1999, Hollinger lntemational entered into an
asset exchange agreement to sell certain of its assets to Community Newspaper Holdings,
Inc. and its subsidiary, Newspaper Holdings, Inc. (co]lectively, “CNHI”), for
approximately 8450 million, $50 million of which was allocated as consideration for a
non-competition agreement (the “CNHI l trans action”).

74. Hollinger, Inc. was riot a party to the asset exchange agreement
However, Hollinger, Inc. was identified in the asset exchange agreement as a party to the
non-competition agreement along with Hollinger International.

75. CNHI did not request a non-competition agreement from Hollinger,
Inc.

76. However, in or about January 1999, Radler caused Hollinger, Inc. to
be added as a party to the non-competition agreement Radler signed the non-
competition agreement on behalf of Hollinger, Inc.

77. Neither the asset exchange agreement nor the non-competition

agreement specified how, if at all, the 850,000,000 in consideration was to be allocated

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between the Seller, Hollinger Intemational, and Hollinger, Inc. Radler caused Hollinger,
Inc. to be paid 512 million of the $50 million as consideration for the non-competition
agreement

78. In February 1999, Hollinger, Inc. received a purported non-

competition payment of $12 million in connection with the CNHI I transaction

79. Hollinger, Inc. used this payment to repay debt it owed to Hollinger
International.
80. Hollinger, Inc. failed to disclose the $12 million purported non-

competition payment in its response to Hollinger International’s proxy questionnaire for
the 1999 fiscal year.

81. Radler presented the CNHI l transaction and Hollinger International’s
non-competition agreement to Hollinger lntemational’s Board for approval on November
30, 1998. Black was present at this Board meeting The Hollinger, Inc. non-competition
agreement and the $12 million purported non-competition payment to Hollinger, lnc.
were not disclosed to or approved by Hollinger International’s independent directors or
its Audit Comrnittee.

82. Later, during a February 26, 1999 Board meeting, Black told the
Hollinger Intemational Board that the CNHI transaction was successfully concluded
Radler was also present at this meeting Neither Black nor Radler disclosed to Hollinger
lnternational’s Board that Hollinger, Inc. had signed amon-competition agreement and
had received 312 million as a purported non-competition payment in connection with the

CNHI transaction

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-83. The 812 million purported non-competition payment to Hollinger, Inc.
was not disclosed in any of Hollinger Intemational’s filings with the Commission until it
was disclosed in a November 17, 2003 press release filed With a Form 8-K.

84. Black, Radler and Hollinger, Inc. knew or were reckless in not
knowing that Hollinger International’s filings with the Commission were materially false
and misleading because they failed to disclose the $12 million purported non-competition
payment to Hollinger, Inc.

THE HORIZON TILANSACTION

85. On or about March 31, 1999, Hollinger Intemational entered into an
agreement to sell certain of its newspaper publications to Horizon, a company owned and
controlled by Black and Radler, for a purchase price of approximately $46 million, $5
million of which was allocated to a non-competition agreement (the “Horizon
transaction”).

86. Hollinger, Inc. was not a party to the asset exchange agreement
However, Hollinger, Inc. was identified in the asset exchange agreement as a party to the
non-competition agreement along with Hollinger lnternational.

87. ' Radler caused Hollinger, Inc. to be inserted as a party to the non-
competition agreement

88. Neither the asset exchange agreement nor the non-competition
agreement specified how, if at all, the $5,000,000 in consideration was to be allocated
between the seller, Hollinger International, and Hollinger, Inc.

89. Radler caused Hollinger, Inc. to receive 81.2 million of the $5 million

as consideration for the non-competition agreement

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90. In or around August 1999, Hollinger Inc. received from Horizon $1.2
million of the total non-competition agreement allocation related to the Horizon
transaction

91. Hollinger, Inc. failed to disclose the $l .2 million purported non-
competition payment in its response to Hollinger lnternational’s proxy questionnaire for
l the 1999 fiscal year.

92. Radler presented the Horizon transaction to Hollinger lntemational’s
Board for approval on November 30, 1998, Black was present at this Board meeting
The Hollinger, Inc. non-competition agreement and $l .2 million purported non-
competition payment to Hollinger, Inc. were not disclosed to or approved by Hollinger
lnternational’s independent directors or its Audit Comrnittee.

93. The $1.2 million purported non-competition payment to Hollinger,
lnc. was not disclosed in any of Hollinger Intemational’s filings with the Commission
until it was disclosed in a November 17, 2003 press release filed with a Form 8-K.

94. Black, Radler and Hollinger, Inc. knew or were reckless in not
knowing that Hollinger International’s filings with the Commission were materially false
and misleading because they failed to disclose the $1.2 million purported non-
competition payment to Hollinger, Inc.

CNHI II TRANSACTION

95. On or about September 28, 2000, Hollinger Intemational entered into
an asset purchase agreement to sell to Newspaper Holdings, lnc. certain newspapers for a
purchase price of approximately $90 million, $3 million of which was allocated as

consideration for a non-competition agreement (the “CNHI ll transaction”).

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96. Hollinger, lnc. was not a party to the asset purchase agreement
However, Hollinger, lnc.' was identified in the asset purchase agreement as a party to the
non-competition agreement along with Hollinger International.

97. CNHI did not request a non-competition agreement from Hollinger,
Inc. However, Radler caused Hollinger, lnc. to be included as a party to a non-
competition agreement in the asset purchase agreement

98. At Radler’s direction, the asset purchase agreement allotted Hollinger,
Inc. 25%, or $750,000, of the amount allocated to the non-competition agreement and
Hollinger International was allotted the remaining 75%, or $2-25 million

99. On September 15, 2000, Hollinger lnternational’s Executive
Committee, consisting of Black, Radler and Perle, approved the disposition of assets to
CNHI and execution of a non-competition agreement by Hollinger lntemational and
Hollinger, Inc. for an aggregate purchase price of approximately $90 million after
assignment by CNHI to Hoiizon of the right to acquire two California newspapers the
Bishop and Blackfoot properties

100. CNHI did not request that any individuals be added as parties to the
non-competition agreement However, at or around the time of closing, Radler caused
Black, Radler, Atkinson and Boultbee to be included as parties to the non-competition
agreement No dollar amounts were mentioned in the revised non-competition
agreement

101. Black and Radler caused $9.5 million in purported non-competition

payments to be made to Black, Radler, Atkinson and Boultbee

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102. The $9.5 million in purported non-competition payments to Black,
Radler, Atkinson and Boultbee were not made at the request of CNHI and Were not
required under the asset purchase agreement or non-competition agreement The
additional $9.5 million in purported non-competition payments did not increase the total
purchase price paid by CNHI.

103. The $9.5 million was initially to be paid as follows: $4.5 million to
Black, $4.5 million to Radler, $250,000 to Atkinson and $250,000 to Boultbee. Black
and Radler subsequently reduced the purported non-competition payments to themselves
to $4.3 million each and increased the payments to Boultbee and Atkinson to $450,000

each. Radler authorized a bonus to Kipnis in the amounth 3100,000.

104. Checks were issued to the individuals in these amounts on or about
November 21, 2000.
105. Hollinger, Inc. received a $750,000 purported non-competition

payment in connection with the CNHI II transaction When the transaction closed.

106. Black and Radler failed to disclose the 343 million purported non-
competition payments to themselves in their responses to Hollinger International’s proxy
questionnaires for the 2000 fiscal year.

107. Hollinger, Inc. failed to disclose the $750,000 purported non-
competition payment in its response to Hollinger International’s proxy questionnaire for
the 2000 fiscal year.

FORUM TRANSACTION
108. On or about September 30, 2000, Hollinger Intemational entered into

an asset purchase agreement to sell certain of its assets to Forum Communications

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Company (“Forum”) for approximately $14 million, of which $400,000 was allocated as
consideration for a non-competition agreement (the “Forum transaction”).

109. Hollinger, Inc. was not a party to the asset purchase agreement
However, Hollinger, Inc. was identified in the asset purchase agreement as a party to the
non-competition agreement along with Hollinger International.

110. Forum did not request that Hollinger, lnc. be included as a party to the
non-competition agreement However, Radler caused Hollinger, Inc. to be included as a
party to the non-competition agreement

lll. At Radler’s direction, the asset purchase agreement allotted Hollinger,
Inc. 25%, or 3100,000, of the amount allocated to the non-competition agreement, and
Hollinger International was allotted the remaining 75%, or $300,000.

112. On September 19, 2000, Hollinger International’s Executive
Committee, consisting of Black, Radler and Perle, approved the disposition of` assets to
Forum and the execution of a non-compete agreement by Hollinger lnternational and
“certain executive officers of [Hollinger] lntemational” for an aggregate purchase price
of approximately $14 million

113. ' Neither the asset purchase agreement nor the non-competition
agreement provided f`or non-competition agreements with or non-competition payments
to any individual executive officers of Hollinger Intemational.

114. ln or about October 2000, Hollinger, Inc. received a non-competition

payment of $100,000 in connection with the Forum transaction

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115. Hollinger, Inc. failed to disclose the $100,000 purported non-
competition payment in its response to Hollinger International’s proxy questionnaire for
the 2000 fiscal year.

PAXTON TRANSACTION

116. On or about October 2, 2000, Hollinger Intemational entered into an
asset purchase agreement to sell certain of its assets to PMG Acquisition Corporation
(“Paxton”) for approximately $59 million, $2 million of which was allocated as
consideration for a non-competition agreement (the “Paxton transaction”).

117. Hollinger, Inc. was not a party to the asset purchase agreement
However, Hollinger, Inc. was identified in the asset purchase agreement as a party to the
non-competition agreement along with Hollinger Intemational.

l 18. Paxton did not request that Hollinger, Inc. be included as a party to the

non-competition agreement However, Radler caused Hollinger, Inc. to be included as a
party to the non-competition agreement

119. At Radler’s direction, the asset purchase agreement allotted Hollinger,
Inc. 25%, or $500,000, of the amount allocated to the non-competition agreement and
Hollinger International was allotted the remaining 75%, or $1.5 million.

120. On September 18, 2000, Hollinger International’s Executive
Committee, consisting of Black, Radler and Perle, approved the disposition of assets to
Paxton and the execution of a non-compete agreement by Hollinger International and

“certain executive officers of Hollinger Intemational.”

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121. Neither the asset purchase agreement nor the non-competition
agreement provided for non-competition agreements with or non-competition payments
to any individual executive officers of Hollinger Intemational.

122. Iri or about October 2000, Hollinger, Inc. received a non-competition
payment of $500,000 in connection with the Paxton transactionl

123. Hollinger, Inc. failed to disclose the $500,000 purported non-
competition payment in its response to Hollinger lntemational’ s proxy questionnaire for
the 2000 fiscal year.

BOA.RD “RATIFICATION” REGARDING THE
CNHI II, FORUM AND PAXTON TRANSACTIONS

124. Black presented the Executive Committee’s authorization and
approval of the sale of certain assets to CNHI (CNHI II), Forum and Paxton to Hollinger
International’s Board for continuation and ratification on December 4, 2000. Radler
was present at this Board meeting

125. Neither Black nor Radler disclosed to the Board that Hollinger, Inc.
had executed a non-competition agreement in connection with the CNHI II, Forum and
Paxton transactions, that individuals had executed a non-competition agreement in
connection with the CNHI ll transaction, or that Hollinger, Inc. or any executive officers
of Hollinger International had or would receive purported non-competition payments in
connection with the transactions

126. Although the Board minutes purport to incorporate by reference the
September 15, 18, and l9, 2000 Executive Committee consents, the Board was not given

a copy of the resolutions The purported non-competition payments to Hollinger, Inc.,

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Black, Radler, Atkinson and Boultbee were not reviewed or approved by the Audit
Committee or Board.

M)DITIONAL NON-COMPETITION PAYMENTS
FROM FORUM AND PAXTON RESERVES

127. ln early 2001, Hollinger International and/or its subsidiaries
maintained unallocated accounting reserves from certain of its transactions, including
reserves from the Forum and Paxton transactions

128. In 2001 , Black and Radler caused additional purported non-
competition payments to be made from the reserves of the Forum and Paxton transactions
to themselves in the amount of 3285,000 each, and to Atkinson and Boultbee in the
amount of $15,000 each. None of these payments were made at the request of` Forum or
Paxton.

129. Black and Radler received these payments on or about April 9, 2001,
several months aher these transactions closed.

130. Neither Black, Radler, Atkinson nor Boultbee executed a non-
competition agreement in connection With their receipt of` these payments

131. Black and Radler did not present the purported non-competition
payments to themselves, Atkinson and Boultbee to Hollinger Intemational’s Board or to
its Audit Committee for review or approval.

132. The purported non-competition payments made to Black, Radler,
Atkinson and Boultbee in connection with the CNHI II, Forurn and Paxton transactions
were not disclosed in any of Hollinger International’s public filings with the Commission

until April 1, 2002, when Hollinger Intemational filed its 2001 Form lO-K. However, as

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discussed below, the disclosure in Hollinger lnternational’s 2001 Form lO-K regarding
these payments contained misstatements and omissions of material fact
THE AMERICAN PUBLISHING COMPANY “TRANSACTION”

133. ln or around February 2001, Black and Radler caused themselves,
Atkinson and Boultbee to receive approximately $5.5 million in additional purported
non-competition payments pursuant to purported non-competition agreements with
American Publishing Company (thc “Arnerican Publishing transaction”). Arnerican
Publishing Company was a wholly-owned subsidiary of Hollinger lnternational.

134. There was no reason for the individuals to execute the non-competition
agreements or to receive payment of any consideration for their agreements not to
compete with Arnerican Publishing Company. These payments were not made in
connection with any sale or transfer of newspapers by Hollinger lnternational.

135. ln February 2001 , Black, Radler, Atkinson and Boultbee executed
these purported non-competition agreements, which were backdated to December 31,
2000.

136. Radler caused Hollinger Intemational to issue checks for $2,612,500
each to himself and Black and $137,5 00 each to Atkinson and Boultbee in connection
with the purported “non-competition” agreements With Amen`can Publishing Company in
February 2001. The checks for these purported “non-competition” payments were
backdated to December 31, 2000.

137. . Black and Radler did not present the American Publishing Company
purported non-competition payments to themselves, Atkinson and Boultbee to Hollinger

Intemational’s Board or to its Audit Committee for review or approval.

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MISSTATEMENTS AND OMISSIONS IN HOLLINGER

INTERNATIONAL’S FILINGS REGARDING THE NON-COMPETITION

PAYMENTS TO HOLLINGER. INC. AND THE INDIVIDUALS

138. The purported non-competition payments made to Hollinger, Inc. in
connection with the CNHI II, Forum and Paxton transactions were not disclosed in any of
Hollinger lnternational’$ filings With the Commission until they were disclosed in a
November 17, 2003 press release filed with a Form S-K.

139. Black, Radler and Hollinger, Inc. knew or were reckless in not
knowing that Hollinger International’s filings with the Commission were materially false
and misleading because they failed to disclose the $1,350,000 in purported non-
competition payments made to Hollinger, Inc. in connection with the CNHI II, Forum
and Paxton transactions

140. The purported non-competition payments made to Black, Radler,
Atkinson and Boultbee in connection with the CN'HI ll transaction were not disclosed in
Hollinger lnternational’s proxy statement for the 2000 fiscal year or in its 2000 Form 10-
K.

141. Black and Radler knew or were reckless in not knowing that Hollinger
mternational’s filings with the Commission prior to April 1, 2002, including its 2000
Form 10-K filed April 2, 2001 and 2001 proxy statement filed March 27 , 2001, were
materially false and misleading because they failed to disclose the $8.6 million in total
purported non-competition payments to themselves and $900,000 in total purported non-

competition payments to Atkinson and Boultbee.

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142. The non-competition payments made to Black, Radler, Atkinson and
Boultbee in connection with the above-mentioned transactions were first disclosed in
Hollinger lnternational’s 2001 Form 10-K, which states:

In connection with the sales of United States newspaper properties in 2000, to
satisfy a closing condition, the Company, Lord Black and three senior executives
entered into non-competition agreements with the purchasers to which each
agreed not to compete directly or indirectly in the United States with the United
States businesses sold to purchasers for a fixed period, subject to certain limited
exceptions, for aggregate consideration paid in 2001 of $0.6 million These
amounts were in addition to the aggregate consideration paid in respect of these
non-competition agreements in 2000 of $15 million Such amounts were paid to
Lord Black and the three senior executives The Company’s independent directors
have approved the terms of these payments

143. Hollinger lnternational’s 2002 Form 10-K contained disclosures
concerning the non-competition payments that were nearly identical to the disclosure
contained in its 2001 Form 10-K.

144. Hollinger lnternational’s 2002 Form lO-K states:

During 2000, we sold most of our remaining U.S. community newspaper
properties, for total proceeds of approximately $215 million In connection with
those sales, to satisfy a closing condition, the Company, Lord Black and three
senior executives entered into non-competition agreements with the purchasers to
which each agreed not to compete directly or indirectly in the United States with
the United States businesses sold to purchasers for a fixed period, subject to
certain limited exceptions, for aggregate consideration paid in 2001 of

$0.6 million These amounts were in addition to the aggregate consideration paid
in respect of these non-competition agreements in 2000 of $15 million Our
independent directors approved the terms of these payments;

and

ln connection with the sales of United States newspaper properties in 2000, to
satisfy a closing condition, the Company, Lord Black and three senior executives
entered into non-competition agreements with the purchasers pursuant to which
each agreed not to compete directly or indirectly in the United States With the
United States businesses sold to the purchasers for a fixed period, subject to
certain limited exceptions, for aggregate consideration paid in 2001 of $600,000.
These amounts Were in addition to the aggregate consideration paid in respect of
these non-competition agreements in 2000 of $15,000,000. Such amounts were

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paid to Lord Black and the three senior executives The Company’s independent
directors have approved the terms of these payments

145. The disclosures in Hollinger lnternational’s 2001 and 2002 Forms 10-
K contained misstatements and omissions of material fact because, among other things:

(a) The purported non-competition payments made in connection With
the American Publishing Company transaction were not in connection with the sale of
newspaper properties;

(b) Black, Radler, Atkinson, and Boultbee did not enter into non-
competition agreements with purchasers in connection with the Arnerican Publishing
Company, Forum or Paxton transactions',

(c) Black, Radler, Atkinson and Boultbee did not enter into any non-
competition agreements “to satisfy a closing condition” of any purchaser of Hollinger
lnternational’s U.S. newspapers because none of the purchasers requested that any of the
individuals enter into non-competition agreements;

(d) _ Approximately $9.5 million was paid in 2000 and another
approximately $6 million was paid in 2001 as consideration for the purported non-
competition agreements; and

(e) The payments were not approved by Hollinger International’s

independent directors.

146. Black and Radler signed Hollinger lnternational’s 2001 and 2002
Forms 10-K, j

147. Black also certified Hollinger lnternational’s 2002 Forrn lO-K

pursuant to Section 302 of the Sarbanes-Oxley Act as the CEO of Hollinger lntemational.

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148. Hollinger Intemational also disclosed the payments in its proxy
statement filed on or about April 2, 2002, which states:

ln connection with the Sales of United States newspaper properties in

2000, to satisfy a closing condition, Hollinger lnc., the Company, Lord

Black and Messrs. Radler, Atkinson and Boultbee entered into non-

competition agreements with the purchasers pursuant to which each

agreed not to compete directly or indirectly in the United States with the

United States businesses sold to the purchasers for a fixed period, subject

to certain limited exceptions, for aggregate consideration paid in 2001 and

2000 of $15,600,000, consisting of $7,197,500 paid to Lord Black,

$7,197,500 paid to Mr. Radler, $602,500 paid to Mr. Atkinson and

$602,500 paid to Mr. Boultbee.

149. Hollinger lnternational’s 2002 proxy statement contained
misstatements and omissions of material fact for the reasons stated in paragraph l45(a)-
(e), above. ln addition, this disclosure identified Hollinger, Inc. as a party to a non-
competition agreement(s), but failed to disclose that any purported non-competition
payments were made to Hollinger, lnc., leading the reader to believe that no non-
competition payments were made to Hollinger, lnc., when, in fact, it received over 516
million in purported non-competition payments in connection with the sale of Hollinger
Intemational U.S. newspaper assets.

150. Black and Radler knew or were reckless in not knowing that Hollinger
lnternational’s 2001 and 2002 Forms 10-K and 2002 proxy statement filed on or about
April 2, 2002, were materially false and misleading because they contained the
misstatements and omissions of material fact discussed above.

151. The misstatements and omissions in Hollinger lntemational’s 2001
and 2002 Forms lG-K and 2002 proxy statement were not disclosed in any of Hollinger

lntemational’s filings with the Commission until they were disclosed in a November 17,

2003 press release filed with a Form S-K.

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MISSTATEMENTS AND OMISSIONS DURING HOLLINGER
INTERNATIONAL’S MAY 2002 SHAREHOLDER MEETING

152. During a Hollinger lntemational shareholder meeting held in May
2002, at which Radler was present, Black responded to a shareholder’s question
regarding the purported non-competition agreements as follows:

You’re right that there were some non-competes in the Arnerican Community

sales, but that wasn’t as dissimilar as it seems from the Canadian situation ln

those papers, they wanted some assurance that we wouldn’t come back with

shoppers, which is always a threat to those small newspapers and indeed, there’s

been some incidence in the history of that business of people doing just that ..

153. Black’s statement contained misstatements and omissions of material
fact because, among other things, Black, Radler, Atkinson and Boultbee did not enter into
non-competition agreements or receive the purported non-competition payments at the
request of the purchasers and did not execute non-competition agreements in connection
with the Forum and Paxton transactions ln addition, there was no sale of newspapers
associated with the purported non-competition agreements and payments in the American
Publishing Company transaction

154. Black and Radler knew or were reckless in not knowing that Black’s

statements to Hollinger lnternational’s shareholders were materially false and misleading

MISSTATEMENTS AND OMISSIONS IN HOLLINGER, INC.’S
FILINGS REGARDING THE NON-COMPETITION PAYMENTS

155. On or about April 23, 2002, Hollinger, Inc. disclosed the non-
competition payments made to Black, Radler, Atkinson and Boultbee in connection with
the U.S. newspaper sales in its proxy statement filed on Form 6-K.

156. Hollinger, Inc. ’s 2002 proxy statement reads:

ln connection with the sales of United States newspaper properties in
2000, to satisfy a closing condition, Hollinger [lnc.], Hollinger

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lnternational, Lord Black and Messrs. Radler, Atkinson and Boultbee
entered into non-competition agreements with the purchasers pursuant to
which each agreed not to compete directly or indirectly in the United
States with the United States businesses sold to the purchasers for a fixed
period, subject to certain limited exceptions, for aggregate consideration
paid in 2001 and 2000 of U.S.$l§,600,000, consisting of U.S.$7,197,500
paid to Lord Black, U.S.$7,197,500 paid to Mr. Radler, U.S.$602,500 paid
to Mr. Atkinson and U.S.$602,500 paid to Mr. Boultbee.

157. This disclosure contained misstatements and omissions of material fact
for the reasons stated in paragraph l45(a)-(e), above. ln addition, this disclosure
identified Hollinger, Inc. as a party to a non-competition agreement(s), but failed to
disclose that any purported non-competition payments were made to Hollinger, lnc.,
leading the reader to conclude that no non-competition payments were made to Hollinger,
lnc. when, in fact, it received over $16 million in purported non-competition payments in
connection with the sale of Hollinger lnternational U.S. newspaper assets.

158. Hollinger, lnc.’s 2001 Form 40-F filed with the Commission on or
about May 22, 2002 contains the following disclosure regarding the non-competition
payments:

ln connection with the sales of United States newspaper properties in 2000, to

satisfy a closing condition, Hollinger Intemational, Lord Black and three senior

executives entered into non-competition agreements with the purchasers pursuant
to which each agreed not to compete directly or indirectly in the United States
with the United States businesses sold to the purchasers for a fixed period, subject
to certain limited exceptions, for aggregate consideration paid in 2001 ofUS

$600,000 ($917,000). These amounts were in addition to the aggregate

consideration paid in respect of these non-competition agreements in 2000 of US

$15.0 million ($22.5 million). All such amounts were paid to Lord Black and the

three senior executives The independent directors of Hollinger lnternational have

approved the terms of these payments

159. Similar disclosures were made in Hollinger, lnc.’s 2002 Form 20-F

and amended 2002 Forrn 20-F filed on or about June 27, 2003, and September 17, 2003,

respectively The disclosures in Hollinger, Inc.’s 2001 Form 40-F and 2002 Form 20-F

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and amended 2002 Form 20-F contained misstatements and omissions of material fact for
the reasons stated in paragraph 145(a)-(e), above. ln addition, these disclosures failed to
disclose that any purported non-competition payments were made to Hollinger, lnc.,
leading the reader to conclude that no non-competition payments were made to Hollinger,
Inc. when, in fact, it received over $16 million in purported non-competition payments in
connection with the sale of Hollinger lntemational U.S. newspaper assets

160. Hollinger, Inc. knew or was reckless in not knowing that its 2002
proxy statement and its 2001 Form 40-F and 2002 Forrns 20-F were materially false and
misleading

THE CANWEST TRANSACTION

161. On July 30, 2000, Hollinger International and its subsidiaries executed
a transaction agreement to sell several of its Canadian newspapers to CanWest for a
purchase price of approximately Cdn. $3_.8 billion (approximately U.S. $2.6 billion), of
which Cdn. $80 million (approximately U.S. $51.6 million) Was allocated as
consideration for non-competition agreements (the “CanWest transaction”). An
amending agreement was executed at the time of closing on or about*November 15, 2000.

162. l Hollinger, lnc., Ravelston, Black, Radler, Atkinson and Boultbee
were not parties to the transaction agreement However, Hollinger, Inc., Ravelston,
Black, Radler, Atkinson and Boultbee were identified in the transaction agreement as
parties to the non-competition agreement along with Hollinger lnternational.

163. Neither the asset purchase agreement nor the non-competition

agreement specified that the Cdn. $80 million was to be paid to anyone other than the

seller, Hollinger lnternational.

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164. At no time did CanWest negotiate or specify an amount as to the value
of the non-competition agreements, nor did CanWest specify that Ravelston or any of the
individuals would receive any consideration allocated to the non-competition agreementsl

165. Black personally negotiated the CanWest transaction on behalf of
Hollinger lnternational_

166. Black and Radler determined the amounts that were allocated to the
various individuals and entities.

167. CanWest did not request a non-competition agreement from Atkinson
or Boultbee. Rather, Atkinson asked Black if he and Boultbee could be given “non-
competition” payments to serve as bonuses for their work on the CanWest transaction
Black agreed to add Atkinson and Boultbee to the non-competition agreement so that
they could be given “non-competition” payments to serve as bonuses for their work on
the CanWest transaction

168. On or about July 25, 2000, the Hollinger lnternational Board received
a summary of the proposed CanWest transaction The summary stated that “The
purchase price was increased as a result of a reduction of Management Services Fees to
be charged to Ravelston with respect to the ongoing management of the Newspaper
Assets. Prior to closing, Ravelston and the Audit Committee will negotiate an
appropriate sharing of such purchase price increase.”

169. The summary also included a reference to the non-competition
agreements and stated that Ravelston, Hollinger, lnc., Black and Radler were required to
execute non-competition agreements and that “consistent with prior transactions,” the

Audit Committee would negotiate what portion of the purchase price should be allocated

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to the non-competition agreements prior to closing The Audit Committee had not
previously negotiated what portion of a purchase price would be allocated to a non-
competition agreement, and it did not do so in the CanWest transaction

170. On July 26, 2000, Black confirmed that the Board had received the
summary and made a general presentation about the CanWest transaction to the Hollinger
lnternational Board. The minutes reflect that Black stated that certain monetary
allocations would be made to Ravelston and those parties required to sign non-
competition agreements and that related party issues would be resolved prior to closing
by the Audit Committee

171. The transaction agreement was signed on ]uly 30, 2000. The CanWest
transaction did not close and fund until November 2000.

. THE SEPTEMBER 2000 REPRESENTATIONS TO
THE AUDIT COMMITTEE AND BOARD

172. On or about September 1, 2000, Kipnis sent the Hollinger lnternational
Audit Committee a memorandum concerning the non-competition agreements in
preparation for the September ll, 2000 Audit Committee meeting

173. The memorandum stated that “Conrad M. Black, F. David Radler,
Hollinger lntemational, Ravelston, Peter Atkinson, and lack Boultbee have each been
requested to execute non-competition agreements The total portion of the purchase
price allocated to the non-competition agreements is Cdn. $50 million, approximately
1.4% of the Cdn. $3.5 billion purchase price (allocated Cdn. $19 million each to Messrs.
Black and Radler, Cdn. 334 million each to Hollinger and Ravelston, and Cdn. 32 million

each to Messrs. Atkinson and Boultbee).”

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174. The memorandum also stated that Ravelston had a long-term
management agreement in place with Hollinger Intemational, that the CanWest purchase
price Was based upon earnings before income taxes, depreciation and amortization
(“EBITDA”), and that during the negotiations, Ravelston had agreed to reduce its
ongoing management fee by approximately 511 million and the CanWest purchase price
was accordingly adjusted upward by approximately Cdn. 5110 million The
memorandum proposed that Ravelston receive a purchase price allocation of Cdn. 530
million, approximately 0.9% of the purchase price, “in consideration for Ravelston
reducing its management fee and consenting to CanWest having an early termination of
its management arrangements.”

175. The CanWest payments were discussed at the September 11, 2000
Audit Committee meeting Radler was present at and participated in this meetingl

176. According to the minutes of the September 11, 2000 Audit Committee
meeting, Kipnis told the Audit Committee that “the execution of a non-competition
agreement by Messrs. Black and Radler, individually, Was a requirement of CanWest and
that CanWest originally insisted that Messrs. Black and Radler each receive Cdn. 526
million. .. Black and Radler negotiated Cdn. 512 million be reallocated to cover bonuses
for senior management, Which reallocations would save the Company additional bonus
costs."

177. Kipnis further informed the Committee that Ravelston “would be
willing to reduce its service fees. . .which would have the effect of increasing the
Canadian Group’s EBITDA figure (thereby increasing the purchase price the Company

would receive for the CanWest Transaction by 10 times the amount forgiven)” and Would

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be willing to waive the six month`s notice it was entitled to under the Services
Agreement and that in consideration for these concessions, Ravelston was requesting an
early termination fee equal to approximately 0.9% (Cdn. 530 million) of the purchase
price.
178. Based on the September ll, 2000 memorandum and meeting, the
Audit Committee approved the fainress of the non-compete allocations and “early
termination fee.”
179. The Cdn. 550 million non-competition payment and Cdn. 530 million
“early termination” fee were subsequently presented to the Board by Audit Committee
Chairman J ames R. Thompson (“Thompson”). Radler was present at this meeting
Based upon the Audit Committee’s recommendation, the Board approved the fairness of
these allocations
180. The September ll, 2000 Audit Committee and Board approval of the
non-competition payments were based on misstatements and omissions of material fact,
because, among other things:
(a) CanWest did not demand non-competition agreements from
Atkinson or Boultbee and the payments to Atkinson and Boultbee Were bonuses;
(b) CanWest did not specify an amount as to the value of the non-
competition agreements;
(c) The amounts allocated to the various individuals and entities were
not determined by CanWest but by Black and`Radler;
(d) CanWest did not demand that Ravelston or the individuals receive

any money or any specific amounts of money as a non-competition payment; and

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(e) the explanation provided for the “early termination fee” to

Ravelston was baseless

181. The CanWest transaction closed on or about November 15, 2000.
Black and Radler each received approximately Cdn. 518.4 million (U.S. 511.9 million),
Ravelston received approximately Cdn. 540.9 million (U.S. 526.3 million) and Atkinson
and Boultbee each received approximately Cdn. 52.0 million (U.S. 51 .3 million) in non-
competition payments These amounts included an additional (aggregate) Cdn. 51.7
million (U.S. 51 .1 million) in interest payments calculated from the initial July 30, 2000
transaction agreement

182. Black began the December 4, 2000 Hollinger International Board
meeting with a brief summary of the concluded CanWest transaction. He also presented
to the Board a resolution approving and adopting the minutes of the September ll, 2000
Board meeting as accurately reflecting the meeting Radler was also present at this
meeting

183. Black and Radler did not disclose that there were any errors in the
information provided to the Audit Committee or Board in September 2000. The Board

approved the September ll, 2000 Board minutes at the December 4, 2000 Board

 

meeting
THE MAY 2001 REPRESENTATIONS TO
THE AUDI'I` COMMITTEE ANI) ]_ZOARD
184. Hollinger International did not disclose the CanWest non-competition

payments in its 2000 Form lO-K filed on or about April 2, 2001 or in its 2001 Proxy

statement filed on or about March 27, 2001.

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185. In a memorandum dated May 1, 2001, Hollinger Intemational’s Board
Was informed that “in a number of inadvertent respects” the September ll, 2000
materials “did not reflect the documentation for the CanWest Transaction” because it
“could be deemed to imply that Non-Competition Consideration received by certain
individuals was in lieu of compensation and that the Non-Competition Consideration
received by Ravelston was an ‘early break fee’ in respect of its management services
agreement with the Corporation and its principal Canadian subsidiary.”

186. The memorandum stated that the Transaction Agreement “established
an amount of Cdn. 580 million as consideration for the receipt by CanWest of non-
competition agreements No allocation of the Non-Competition Consideration among the
recipients was made by CanWest.” The memorandum further stated that “[t]he Non-
Competition Consideration was allocated by the recipients among Ravelston and the
other Obligors on what they determined to be a fair and appropriate basis under the
circumstances” and that Ravelston received Cdn. 538 million, Black and Radler received
Cdn. 519 million and Atkinson and Boultbee received Cdn. 52 million.

187. According to the memorandum, “[T]he Non-Competition
Consideration paid by CanWest to the individual Obligors does not, and because it was
paid by CanWest cannot, have the character of compensation to the recipients thereof
contrary to a comment which so suggests in the September 11th Audit Committee
meeting.”

188. The memorandum also stated that the “Non-Competition
Consideration paid by CanWest to Ravelston does not represent any compromise of

rights or entitlements of Ravelston pursuant to its existing Management Services

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Agreements with the Corporation or its subsidiaries contrary to the discussion thereof in
the minutes of the September llth meetings” and that the minutes and memorandum
“incorrectly characterized the Non-Competition Consideration received by Ravelston as
an ‘early break fee.”’ The memorandum advised that “[n]o amendment or termination of
these Management Services Agreements was made or contemplated as a consequence of
the CanWest transaction T he management fee for the year 2000 was established early in
2000 as Cdn. 518.5 million and this amount was paid without reduction.”

189. The memorandum finally requested that the Audit Committee
conclude that the non-competition consideration was fair under the circumstances
because, among other things, “the delivery of the non-competition agreements by the
Obligor was a critical condition of the completion of the Corporation’s sale to CanWest”
and “the Non-Competition Consideration was established in the Transaction Agreement

and reflected the value attributed by CanWest to the Obligors’ non-competition

agreements”

190. Black and Radler received and reviewed the May 1, 2001
memorandum

191. The May l, 2001 memorandum corrected some of the misstatements

and omissions in the September ll, 2000 representations but it, too, contained
misstatements and omissions of material fact because, among other things:

(a) CanWest did not request non-compete agreements from Boultbee
and Atkinson and the payments to Atkinson and Boultbee did have the character of

compensation;

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(b) the non-competition consideration did not reflect the value attributed
by CanWest to the non-competition agreements because CanWest did not specify an
amount as to the value of the non-compete agreements or that any payment would be
made to Ravelston or any individuals for their agreement to not compete;

(c) the memorandum failed to disclose that the individuals and
Rav`elston received Cdn. 51 .7 million in interest on the non-competition payrnents; and

(d) it falsely characterized the misrepresentations on September 11,
2000 as “inadvertent.”

192. Based upon the information in the May 1, 2001 memorandum, the
Audit Committee and Board both ratified the fairness of the payments on May 17, 2001.

193. Radler attended the May 17, 2001 Audit Committee meeting Black
and Radler both attended the Board meeting Black and Radler did not correct any of the
misrepresentations or omissions of material fact in the May 1, 2001 memorandum

MI_SSTATEMENTS AND OMISSIONS IN HOLLINGER
INTERNATIONAL’S FILINGS REGARDING
THE CANWEST NON-C()MPETITION PAYMENTS

194. Hollinger International first disclosed the non-competition payments
made in connection with the CanWest transaction in its Form lO-Q for the quarter ended
March 31, 2001, which provided:

Also, as required by CanWest as a condition to the transaction, Ravelston,

Hollinger Inc. and Messrs. Black, Radler, Boultbee and Atkinson, entered

into non-competition agreements With CanWest pursuant to which each

agreed not to compete directly or indirectly in Canada with the Canadian

businesses sold to CanWest for a five year period, subject to certain

limited exceptions, for aggregate consideration received by Ravelston and

the executives of Cdn. 580 million (553 million) paid by CanWest in

addition to the purchase price referred to above, consisting of Cdn. 538
million paid to Ravelston, Cdn. 519 million paid to Mr. Black, Cdn. 519

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million paid to Mr. Radler, Cdn. 52 million paid to Mr. Boultbee and Cdn.
52 million paid to Mr. Atkinson.

195. Hollinger International’s 2001 Form 10-K contained similar
disclosures regarding the CanWest non-competition agreements

Also, as required by CanWest as a condition to the transaction, the
Company, Ravelston, Hollinger Inc., Lord Black and three senior

- executives entered into non-competition agreements with CanWest
pursuant to which each agreed not to compete directly or indirectly in
Canada with the Canadian business sold to CanWest for a five-year
period, subject to certain limited exceptions for aggregate consideration
of Cdn. 580 million (553 million) paid by CanWest in addition to the
purchase price referred to above of which Cdn. 538 million (525.2
million) was paid to Ravelston and Cdn. 542 million (527.8 million) was
paid to Lord Black and the three senior executives The Company's
independent directors have approved the terms of these payments

196. Hollinger International’s 2002 Form 10-K filed on or about March 31,
2003 also contained similar disclosures concerning the CanWest transaction:

Further, CanWest required as a condition to the transaction that the Company,
Ravelston, Hollinger Inc., Lord Black and three senior executives entered into
non-competition agreements with CanWest pursuant to which each agreed not to
compete directly or indirectly in Canada With the Canadian business sold to
CanWest for a five-year period, subject to certain limited exceptions, for
aggregate consideration of Cdn. 580 million (553 million) paid by CanWest in
addition to the purchase price referred to above of which Cdn. 538 million
(525.2 million) was paid to Ravelston and Cdn. 542 million (527.8 million) was
paid to Lord Black and the three senior executives The Company’s independent
directors approved the terms of these payments

and

Further, CanWest required as a condition to the transaction, that the Company,
Ravelston, Hollinger Inc., Lord Black and three senior executives enter into non-
competition agreements with CanWest pursuant to which each agreed not to
compete directly or indirectly in Canada with the Canadian businesses sold to
CanWest for a five-year period, subject to certain limited exceptions, for
aggregate consideration of Cdn. 580,000,000 (553,000,000) paid by CanWest in
addition to the purchase price referred to above. Of that consideration, Cdn.
538,000,000 (525,200,000) was paid to Ravelston and Cdn. 542,000,000
(527,800,000) was paid to Lord Black and the three senior executives The
Company’s independent directors approved the terms of these payments

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197. Hollinger International’s Form 10-Q for the quarter ended March 31,
2001 and its 2001 and 2002 Forrns 10-K contained misstatements and omissions of
material fact because, among other things:

(a) The Cdn. 580 million non-competition payment was not made “in
addition” to the purchase price', rather, it was allocated from the purchase price and thus
reduced the amount of the total purchase price received by Hollinger lnternational',

(b) CanWest never required that Boultbee or Atkinson enter into non-
competition agreements Rather, Black included them at Atkinson’s request in order to
pay them tax-free bonuses7

(c) The disclosures lead the reader to conclude that CanWest required the
payment of these amounts to Ravelston and the individuals However, CanWest did not
determine the amount of the non-competition payment, the amount to be paid to
Ravelston and the individuals, or that any amount would be paid to Ravelston or any
individuals;

(d) The disclosures also failed to include that additional interest totaling Cdn.
51.7 million was received by the individuals and Ravelston;

(e) The specific amounts of money received by the individuals in Canadian
dollars were incorrect; and

(f) The disclosures failed to state that the Board’s “approval” _Was based upon
misstatements and omissions of material fact.

198. Black and Radler knew or were reckless in not knowing that Hollinger

lnternational’s 2001 and 2002 Forms 10-K and Fonn lO-Q for the quarter ended March

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31, 2001 were materially false and misleading because they contained the misstatements
and omissions of material fact discussed above.

MISSTATEMENTS AND OMISSIONS DURING HOLLINGER
INTERNA'I`IONAL’S MAY 2002 SHAREHOL])ER MEETING

199. During an annual Hollinger lnternational shareholder meeting held in
May 2002, at which Radler was present, Black made the following statements about the
CanWest non-competition payments:

Mr. Asper demanded that there be a non-compete arrangement and
effectively the independent directors of this company determined that
since he wished -that it was something that he was paying valuable
consideration for and some of that should come to us and not to this
company. And that was not a matter negotiated directly by us

. . . we leave the determination of these matters in the hands of
disinterested people, who do, as I said in my remarks, conduct whatever
analysis they think is appropriate It’s not for us to tell them what to do. . .

[CanWest] attached significant commercial value to a non-compete
agreement with us Not with [Hollinger] . . . . And, I accept that there’s a
conundrum as to the division between the company’s interest and our own
in a thing like that, so we effectively handed it to the independent directors
to determine, stayed above the 10 times multiple, shrunk our own
incomes, undoubtedly saved all of the shareholders a tremendous
inconvenience by doing these deals that have enable this company to sail
relatively painlessly through a difficult time. . . .

And in all of the circumstances the independent directors felt this was the
fair thing to do and l must say, I agree. . . .

v You’red_ealing with a best efforts attempt to accommodate to industry
practice and do what’s equitable as determined by independent directors
who are as a group quite a distinguished group.

200. During that meeting Black also told Hollinger Intemational’s

shareholders that the non-competition payments in the CanWest transaction did not

reduce the amount of money paid to Hollinger lnternational, stating:

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[t]he answer is that it was in our opinion not[,] technically speaking[,] a
reduction of the compensation paid to this company The consideration
was not reduced there by the acquirer in the principle case that you’re
referring to, the CanWest deal. ...Now the issue of it and the extent to
which it was an allocation of ultimate purchase price was factored into the
overall negotiations, Starting from the premise of a 10 times multiple.
201. Contrary to Black’s statements to Hollinger International’s
shareholders
(a) the non-competition payments were not negotiated by the Audit
1 Committee; rather, Black and Radler determined the amounts of the payments and to
whom they would be made;
(b) all, not “some,” of the non-competition consideration was paid to
Black, Radler, Ravelston and the other individuals; none of it was retained by Hollinger
lntemational;
(c) CanWest did not specify the amounts of the non-competition
payments or that Ravelston or the individuals should receive non-competition payments;
(d) The “approva ” of the payments by Hollinger International’s Audit
Committee and Board was based on misstatements and omissions of material fact; and
(e) the non-competition payments reduced the sale proceeds to
Hollinger international by approximately U.S. 553 million.
202. Black and Radler knew or were reckless in not knowing that Blaok’s

statements to Hollinger International’s shareholders were materially false and misleading

THE DIVERSION OF HOLLINGER INTERNATIONAL
NEWSPAPERS TO HORIZON

203. As part of their scheme to defraud, Black and Radler also diverted
newspaper assets from Hollinger Intemational to their privately-held corporation,

Horizon.

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204. Among other things, I-Iorizon engaged in a transaction with Hollinger
International in which it received a newspaper for 51 after Black and Radler misled the '
Hollinger Intemational Audit Committee and Board about the paper’s worth and the
existence of other buyers ln addition, in at least one instance, Black and Radler caused
Horizon to obtain newspapers without any review by the Hollinger lnternational Board or
Audit Comrnittee.

205. Black and Radler also made misstatements and omissions of material
fact regarding these transactions in Hollinger lnternational’s filings with the Commission.
THE BISHOP/BLACKFOOT ASSIGNMENT

206. ln September 2000, Hollinger International sold newspaper properties
located in Bishop Lakes, California (“Bishop”) and Blackfoot, ldaho (“Blackfoot”) to
Horizon through a pre-arranged assignment from CNHI (the “Bishop/Blackfoot
Assignment”).

207. By obtaining these newspapers through an assignment from CNHI,
Black and Radler circumvented the review of this related party transaction by Hollinger
International’s Audit Committee and Board.

208. In May 2000, Morgan Stanley, who was assisting Hollinger
International in selling its newspapers advised Hollinger International that the Bishop
and Mammoth Lakes (“Mammoth”) newspapers should be considered one unit for
purposes of selling the papers The papers were in close proximity and Bishop’s printing

facility was used to print the Mammoth paper.

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209. On or about July 27, 2000, Hollinger Intemational received an offer to
purchase Mammoth and Bishop for 53 million, plus another possible 51 million
contingent on the profits of the papers

210. On August 2, 2000, a representative of Hollinger International told the
potential purchaser that its offer could not be accepted because “[a] company affiliated
with Hollinger decided to purchase Bishop. . .” The representative also stated that this
affiliated company decided not to buy Mammoth Lakes because of other commitments

211. ln September 2000, Bishop (but not Mammoth) was sold to Horizon
through CNHI in the CNHI ll transaction However, CNHI had not sought to purchase
the Bishop and Blackfoot papers as part of the CNHI II transaction

212. At Radler’s direction, CNHI was solicited to accept the Bishop and
Blackfoot newspapers as part of the CNHI ll transaction whereby pursuant to an
assignment clause, CNHI would assign those papers to Horizon. CNHI agreed to do the
assignment so long as it had no obligation to pay for and keep the properties

213. Provisions were added to the CNHI ll asset purchase agreement
wherein Bishop and Blackfoot were included among the properties to be purchased by
CNHI but CNHI could prior to the closing assign its rights and obligations with respect
to Bishop and Blackfoot. While the total purchase price in the contract was listed as
595.2 million, including Bishop and Blackfoot, CNHI was to pay, after the assignment,
only 590 million, leaving the remaining 55.2 million to be paid'by the assignee

214. On September 15, 2000, Hollinger lnternational’s Executive

Committee, consisting of Black, Radler and Perle, approved the disposition of assets to

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CNHI for an aggregate purchase price of approximately 590 million after assignment by
CNHI to Horizon of the right to acquire the Bishop and Blackfoot properties

215. CNHI and Hollinger lnternational closed the deal atthe end of
September 2000. CNHI assigned Bishop and Blackfoot to Horizon. However, Horizon
paid only 54.1 million to Hollinger Intemational, and not the 55.2 outlined in the CNHI
purchase agreement

216. Prior to the transaction, there was no disclosure to the Audit
Committee or Board that Bishop and Blackfoot would be sold to Horizon.

217. Several months later, on December 4, 2000, Black presented the
September 15 , 2000 Executive Committee approval of the CNHI I_I transaction to the
Board for ratification Radler was present at the Board meeting

218. Black and Radler failed to disclose to the Board and Audit Committee
that the Bishop and Blackfoot properties had been assigned to Horizon as part of the
CNHI ll transaction They also failed to disclose that another purchaser had offered 53
million for the Mammoth and Bishop properties

219. Although the Board minutes purport to incorporate by reference the
September 15, 2000 Executive Committee consents the Board was not given a copy of
the consents Thus, the Bishop and Blackfoot assignment to Horizon was never
presented to the Audit Committee or Board.

220. Black disclosed in his response to Hollinger Intemational’s 2001
proxy questionnaire that he “indirectly through Conrad Black Capital Corporation, a

stockholder of a privately held company, Horizon Publications, Inc., which through its

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subsidiaries: (i) acquired the right from Newspaper Holdings, Inc. (an unajj”:liated party)
to purchase newspaper assets from the company. . . .”

221. Radler disclosed in his response to Hollinger International’s 2001
proxy questionnaire that he “indirectly through F.D. Radler Ltd., a stockholder cfa
privately held company, Horizon Publications, Inc., which through its subsidiaries (i)
acquired the right from Newspaper Holdings, Inc. an unajj‘ilz'azed party, to purchase
newspaper assets from the company.. . .”

222. Blaok’s and Radler’s responses failed to disclose that they decided to
purchase Bishop and Blackfootfor Horizon prior to the CNHI II transaction and that
Radler had arranged for CNHI to act as a mere conduit to convey the properties to
Horizon as part of the CNHI ll transaction They also failed to disclose that they paid
less than the value assigned to the properties in the CNHI ll asset purchase agreements
and that the assignment was never presented to the Audit Committee or Board for review
and approval.

MISS'I`ATEMENTS AND OMISSIONS IN HOLLINGER
INTERNATIONAL’S FILINGS REGARDING
THE BISHOP AND BLACKFOOT TRANSACTIONS

223. Hollinger International disclosed the Bishop/Blackfoot_ assignment in
its 2001 proxy statement, which stated:

Effective November 1, 2000, Horizon' acquired two properties in

California and Idaho in a transaction valued at approximately $4.1

millionl The Company had previously contracted to sell such properties to

Newspaper Holdings, Inc. as part of a larger transaction, but conveyed title

to those two properties directly to Horizon pursuant to an assignment to
Horizon from Newspaper Holdings, lnc.

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224. The proxy statement described Horizon as “a company formed by a
former Vice President of American Publishing and having certain members of the Board
of Directors and senior management of the Company as shareholders.”

225. This proxy statement was incorporated by reference into Hollinger
International’s 2000 Form 10-K.

226. The disclosure regarding the Bishop and Blackfoot transaction
contained misstatements and omissions of material fact because, among other things, it:
(a) stated that Hollinger lnternational had previously contracted to sell the properties to
CNHI, When in fact Radler arranged for CNHI to act as a mere conduit to convey the
properties to Horizon; (b) failed to disclose that the assignment was never presented to
the Audit Committee or Board for review and approval; (c) failed to disclose that Bishop
and Blackfoot were valued at $5.2 million in the CNHI ll asset purchase agreement; and
(d) failed to specifically state that Horizon was owned and controlled by Radler and
Black.

227. Black and Radler knew or were reckless in not knowing that Hollinger
lnternational’s 2001 proxy statement and 2000 Forrn lO-K were materially false and
misleading because they contained the misstatements and omissions of material fact
discussed above.

THE MAMMOTH TIMES

228. On August 1, 2001 , Black and Radler, through Horizon, purchased

Mammoth for $1.00 and no working capital adjustment, and secured the more valuable

pairing of Bishop and Mammoth.

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229. Hollinger-lntemational had purchased Mammoth in 1999 for $1.75
million

230. In May 2000, Morgan Stanley advised Hollinger International that
following its acquisition of Mammoth in 1999, Mammoth generated revenue of $400,000
and EBITDA of nearly $27,000 through the end of the year. Morgan Stanley also stated
that although this represented an EBITDA margin of only 6%, margins were expected to
grow to 20% in 2000 with revenues of over $1.7 MM.' l

231. As discussed above, on July 27, 2000, Hollinger Intemational had
received a previous offer for Mammoth and Bishop for $3 million, plus another possible
351 million contingent on the operating profits of the papers.

232. Black and Radler knew that there was an offer for Mammoth for over
31 million On August 1, 2000, a few days after the offer, Radler, in a memorandum to
Black and others, stated there was a possible $2 million sale for “Monmouth”[sic].

233. ln the August 2, 2000 letter rejecting its offer to purchase both Bishop
and Mammoth, the potential purchaser was told by a representative of Hollinger
lnternational that “Mamrnoth has great potential, but is too far from our office to allow
for much managerial involvement, and therefore we are going to sell it as a stand-alone
property. This property is budgeted to generate revenues of$1.766MM in 2000 with an
operating margin of approximately 3325,000. There are a lot of efficiencies to be
realized at this property which have not been realized as yet.”

234. ln November of 2000, the same potential purchaser sent another letter

offering to purchase only Mammoth for $l.25 million.

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235. The Mammoth transaction was not reviewed by the Audit Committee
or Board prior to the closing date in August of 2001. The Mammoth transaction was
presented to the Audit Committee for ratification on September 10, 2001, after the
transaction had closed.

236. Radler attended the September 10, 2001 Audit Committee meeting,
and directly or through one of his assistants, reported that Mammoth was sold for $l and
that Mammoth lost $70,000 the year before the sale and $6,000 the month before the sale.
The Audit Committee was also told that there were no other buyers found. The Audit
Committee then ratified the sale of Mammoth to Horizon for $1.00.

237. At a Board meeting held that same day, Thompson reviewed the
“disposition of the Mammoth Times,” and referred the Board to the resolutions that stated
that Mammoth was being sold for $1.00 and that it lost $70,000 the year before the sale
and $6,000 the month before the sale. The Board confirmed and approved the Audit
Committee’s ratification of the Mammoth transaction

238. Black and Radler were present at the September 10, 2001 Board
meeting Black and Radler did not inform the Audit Committee or Board of the full
prospects for the paper or that there had been another buyer willing to pay $1.25 million
for the paper.

THE SKAGIT VALLEY ARGUS ANQ SAN JUAN JOURNAL TRANSACTIONS

239. On or about May 1, 2000 (effective March 31, 2000), Horizon
purchased from Hollinger lnternational The Skagit Valley Argus (“Argus”) and The
Journal of the lsland of San Juan (“San Juan Journal”) newspaper publications for $1.00

“plus or minus a working capital adjustment.”

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240. On or about February 1, 2000, one of Radler’s assistants sent
Hollinger International’s Audit Committee a memorandum recommending the disposition
of the Argus, San Juan Journal and another paper to Horizon.

241. The February l, 2000 memorandum stated that the San Juan Journal
had lost $63,000 the previous year and was unlikely to meet its budget for the year 2000.
The memorandum further stated that the Argus had lost a considerable amount of money
for each of the last few years and should be closed or sold. The memorandum stated that
a loss of approximately $215,000 could be expected for the three papers together in 2000,
and that even that would be a big achievement lt further stated that it was in the best
interests of Hollinger Intemational to accept the offer from Horizon to acquire these
papers for the “value of the working capital” and that the proposed transaction would
save the cost of severance and undesired publicity of closing newspapers

242. However, seven months earlier, in July 1999, Radler received a
memorandum from the sarno assistant discussing these papers in a more favorable light.
That memorandum stated that the San Juan Journal was “coming along nicely,” that the
“EBlTDA has improved from a loss of $40,000 last year to a profit of 327,000 this year,”
and that there was no need to “discuss major changes to this operation at this time.” 'l`he
memorandum also stated that the Argus’ losses had increased from the prior year but
attributed some of this result to poor management and discussed possibly acquiring a
neighboring publication to solve the newspaper’s problems The memorandum stated
that “if we are to make a go of the Skagit Valley Argus, the combination of our activity
together with the [neighboring publication] will give us a revenue base of approximately

$l.$ million.”

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243. 'l`he Argus and San Juan Journal transactions were presented to the
Audit Committee and Board on February 22, 2000. Radler attended the Audit Committee
meeting on February 22, 2000. Radler’s assistant recommended “the proposed
disposition of three (3) losing papers to Horizon Publications lnc. for the value of their
working capital” to the Audit Comrnittee. The Audit Committee approved the transfer of
these papers to Horizon.

244. Black and Radler were present at a Board meeting later that same day
at which Thompson presented the Audit Committee’s approval of the sale of these
newspapers to Horizon to the Board. The Board and Audit Committee were not told of
the full prospects for the newspapers

245. ln late April 2000, another potential purchaser made an offer to buy
the assets of the San Juan Joumal at a purchase price equal to one times revenue. The
San Juan Journal’s revenue was approximately Cdn. $l.l million in 1999. This offer was
made after the transaction with Horizon was first presented to the Audit Committee but
before the Argus and San Juan Journal sale to Horizon closed.

246. The transaction closed on or about May l, 2000. A negative working
capital adjustment resulted in Hollinger lnternational owing I-lorizon approximately
$162,000 to take the papers from Hollinger lnternational.

247. In or about October 2000, Horizon sold the Argus to Skagit Valley
Publishing On information and belief, the Argus was sold for approximately $450,000.

248. The Argus and San Juan Journal dispositions were again presented to
the Audit Committee for ratification in February 2001, several months after the

transaction had closed. Radler was present at the February 2001 Audit Committee

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meeting During the meeting, one of Kipnis’s assistants presented for approval the
“small dispositions” of the “Saagit [sic] Valley Argus . . . and the Journal of the San Juan
lslands,” for a purchase price of “$l plus or minus working capital adjustments.” The
Audit Committee was told that “each [was] a cash flow drain and [that] we believe that
fair market value was obtained.”

249. The Audit Committee was not told that a negative working capital
adjustment resulted in Hollinger lnternational owing Horizon approximately 3162,000 to
take the papers from Hollinger International; that an alternate buyer had offered to buy
the San Juan Joumal for a significant sum prior to the closing of the transaction', or that
Horizon sold the Argus for approximately $450,000 in October 2000.

250. The Audit Committee “approved and ratified” the sale of the Argus
and San Juan Joumal to Horizon.

MISSTATEMENTS AND OMISSIONS IN HOLLINGER
INTERNATIONAL’S FILINGS REGARDING THE
MAMMOTH, SKAGIT VALLEY ARGUS
AND SAN JUAN JOURNAL TRANSACTIONS

251. The Argus and San Juan Joumal transactions were not disclosed in
Hollinger International’s 2000 Form lO-K.

252. Hollinger lntemational’s 2001 proxy statement stated only that
Hollinger International had “sold the stock of Westbourne lnvestments, Inc. to Horizon,”
and failed to disclose material facts regarding the transactions because it failed to
describe the transaction with any specificity and for the reasons stated below.

253. The Mammoth, Skagit Valley Argus and San Juan Journal transactions

were disclosed in Hollinger lnternational’s proxy statement filed on or about April 2,

2002, which stated:

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The Company consummated two transactions with Horizon Publications
lnc., a company formed by a former Vice President of American
Publishing Company and controlled by certain members of the Board of
Directors and senior management of the Company as shareholders, which
were unanimously approved by the Audit Committee and the independent
Directors of the Company as market value transactions American
Publishing Company transferred assets in Saagit [sic] Valley and San Juan
Islands, Washington and Mammoth Lakes, California in exchange for net
working capital
254. The disclosure contained misstatements and omissions of material fact
regarding the transactions because, among other things:

(a) The Mammoth sale was for $1, not net working capital;

(b) it failed to disclose that Hollinger lnternational’s Board and Audit
Committee were falsely told that the newspapers were of little value in the market, when,
in fact, they were economically viable;

(c) it failed to disclose that third parties had offered significant sums
for these properties and that the Board and Audit Committee were not made aware of
these offers to purchase the papers', and

(d) it failed to disclose that the “net working capita ” adjustment in the
sale of the Skagit Valley Argus and San Juan Journal resulted in Hollinger lnternational
owing Horizon approximately 5162,000 to take the newspapers', and

(e) it failed to specifically State that Horizon was owned and
controlled by Radler and Black.

255. This proxy statement was incorporated by reference into Hollinger
International’s 2001 Form lO-K.

256. Black and Radler knew or were reckless in not knowing that Hollinger

lntemational’s 2002 proxy statement and 2001 Form 10-K were materially false and

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misleading because they contained the misstatements and omissions of material fact
discussed above.

HOLLINGER INTERNATIONAL’S INVESTMENT IN
TRIREME ASSOCIATES LLC

257. From approximately October 2002 through December 2002, Black and
Perle, a Hollinger lntemational director and member of Hollinger lnternational’s
Executive Committee, negotiated an investment by Hollinger lntemational in Trireme
Associates LLC, the general partner of a venture capital fund known as Trireme Partners
LP (the “Trireme investment”). On December 25, 2002, Perle executed a subscription
agreement purportedly committing Hollinger lnternational to invest $25 million in
Trireme Associates LLC.

258. The investment was scaled back to $2.5 million On February 12,
2003, Black authorized Atkinson to sign a commitment on behalf of Hollinger
lntemational to invest $2.5 million in Trireme Associates LLC with the possibility of
further investment up to $25 million

259. Prior to the investment, Black was informed by Atkinson that the
Trireme investment would require the approval of the independent directors of Hollinger
lnternational.

260. Black ignored this advice and authorized the Trireme investment
without seeking or obtaining approval from Hollinger Intemational’s Board or Audit
Comrnittee.

261. Hollinger Intemational transferred $2.5 million to Trireme Associates

LLC on or about March 28, 2003.

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262. At the time of the investment, Trireme Associates LLC, as general
partner of Trireme Partners LP, was to receive 20% of the profits of Trireme Partners LP
(“the Distribution”) after repayment of invested capital The Distribution was to be made
to holders of Trireme Associates LLC Class B units. As a result of the investment,
Hollinger lntemational held 25% of the Class B units. The remaining 80% of the profits
of Trireme Partners LP was to be distributed to Trireme Associates LLC and the limited
partners of Trireme Partners LP based upon their invested capital.

263. At the time of the Trireme investment,_Perle, who was a Hollinger
lnternational director, Executive Committee member and Co-Chairman of Hollinger
lntemational’s Subsidiary, Hollinger Digital, was also an equity holder in Trireme
Associates LLC holding an approximate 5% interest in the Distribution to Trireme
Associates LLC.

264. Trireme Management LLC, the designated manager of Trireme
Partners LP, was to receive a management fee from Trireme Partners LP. Perle was a
member of management of Trireme Management LLC.

265. At the time of the investment, Black and another Hollinger
lnternational director, Kissinger, were members of the Strategic Advisory Board of
Trireme Partners LP.

266. The Trireme investment was a related party transaction that required
approval from the outside directors on Hollinger lnternational’s Board or its Audit

Comrnittee.

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MISSTATEMENTS AND OMISSIONS IN HOLLINGER
INTERNATIONAL’S FILINGS REGARDING
THE TRIREME INVESTMENT

267. In March 2003, Hollinger lnternational filed its 2003 proxy statement
for its annual shareholder meeting on May 22, 2003. The proxy statement did not contain
any disclosure concerning the Trireme investment

268. Similarly, Hollinger lnternational’s 2002 Form 10-K, which was filed
on or about March 31, 2003, after the investment was made, did not contain any
disclosure concerning the Trireme investment

269. Hollinger lnternational first disclosed the Trireme investment in its
Form lO-Q for the quarter ended March 31, 2003, which stated: “[d]uring the quarter, the
Company made a venture capital investment of $2.5 million in a fund in which a director
of the Company has a minority interest.”

270. ln its Form lO-Q for the quarter ended June 30, 2003, Hollinger
Intemational again discussed the Trireme investment, stating:

During the first quarter of 2003, the Company made an investment of $2.5

million in a limited liability company in which a director of the Company

is a principal and has a minority interest The funds invested are to be used

for a subsequent investment in a venture capital limited partnership

271. Both of these disclosures misstated and omitted to state material facts
because, among other things, they did not identify the investment by name, did not
identify the director who had an interest in the fund, did not disclose Black’s or
Kissinger’s involvement in Trireme, and did not disclose that the investment was not

reviewed or approved by Hollinger lnternational’s Audit Committee or the independent

members of Hollinger lnternational’s Board.

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272. Black certified Hollinger International’s Fonns 10-Q for the quarters
ended March 31, 2003 and June 30, 2003 pursuant to the Section 302 of` the Sarbanes-
Oxley Act of 2002. He also certified Hollinger Intemational’s 2002 Form 10-K.

273. Black knew or Was reckless in not knowing that Hollinger
lntemational’s 2002 Form 10-K and Forms 10-Q for the quarters ended March 31, 2003
and June 30, 2003 were materially false and misleading for the reasons stated above.

THE SPECIAL COMMITTEE INVESTIGATES

274. On or about June 17, 2003, after other Hollinger International
shareholders raised allegations of unauthorized transfers of corporate assets, Hollinger
International’s Board established a Special Committee of independent directors (the
“Special Committee”) to investigate possible misconduct, initiate and prosecute litigation
based on its investigation, recover misappropriated assets, and protect the interest of all
Hollinger International shareholders

275. On November 6, 2003, the Special Committee sent letters to Black,
Radler, Atkinson and Boultbee requesting information concerning each non-competition
payment made in connection with the American Trucker, CNHI I, Horizon, CNHI II,
Forum, Paxton and American Publishing Company transactions and informing them that
the Special Committee was not aware of any form of proper authorization for the transfer
of these funds out of Hollinger lnternational.

276. In a letter dated November 10, 2003, Black, through his counsel,
provided his version of how the noncompetition payments were made. Black also

proposed that Hollinger International’s Board should engage in a strategic process to

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evaluate proposals for a range of financial alternatives, including the sale of some or all
of Hollinger Intemational’s assets, and should announce the process to the public.

277. Hollinger Intemational’s Board decided to engage in a strategic
process in order to evaluate Hollinger Intemational’s altematives to sell some or all of its
assets (“the Strategic Process”). Black and Hollinger Intemational made a formal
contract to address Black’s obligations with respect to the non-competition payments and
the Strategic Process.

278. In a Restructuring Proposal executed on November 15, 2003, Black
admitted that the $16.55 million in non-competition payments paid to Hollinger, Inc. and
the 372 million that Black and Radler received “Was not properly authorized on behalf of
the Company.” Black agreed to repay Hollinger Intemational the full amount that he
received, and to seek repayment from Hollinger, Inc. of the amounts it received.

279. Black also agreed that he would resign as CEO of Hollinger
Intemational but would stay on as Chairman and “devote his principal time and energy to
pursuing the Strategic Process with the advice and consent of the Executive Committee
and Board;” and that “during the pendency of the Strategic Process, in his capacity as the
majority stockholder of [Hollinger, Inc.], [he] will not support a transaction involving
ownership interests in [Hollinger, Inc.] if such transaction would negatively affect
[Hollinger Intemational’s] ability to consummate a transaction resulting from the
Strategic Process unless the [Hollinger, Inc.] transaction [was] necessary to enable
[Hollinger, Inc.] to avoid a material default or insolvency. `In any such event, [he] shall
give the Company as much advance notice as reasonably possible of any such proposed

[Hollinger, Inc.] transaction.”

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BLACK CONTINUES TO MISLEAD THE PUBLIC

280. On November 17, 2003, Hollinger Intemational issued a press release
(“the November 17, 2003 Press Release”). Among other things, the press release
announced the Special Committee’s then-current findings concerning its investigation

281. The press release stated that a total of 532.15 million in payments
styled as “non-competition payments” were made to Hollinger, Inc., Black, Radler,
Atkinson and Boultbee in connection with the sale of Hollinger lnternational’s U.S.

7 newspaper properties that were not authorized or approved by either the Audit Committee
or the full Board ofDirectors ofHollinger International. The press release also stated
that Hollinger Intemational’s prior public disclosure regarding these matters was
incomplete or inaccurate in some respects.

282. The press release stated that the $l6.5 5 million in payments to
Hollinger, Inc. were not previously disclosed in the notes to Hollinger Intemational’s
financial statements or in its filings With the Commission. ”l`he press release further
stated that although the $l§.o million in payments to the four individuals were disclosed
in Hollinger Intemational’s Form lO-K filed in March 2002, this prior disclosure stated
that the payments in question had been authorized by the independent directors of the
Board, which did not occur, and that the payments were made “to satisfy a closing
condition,” which was not accurate ln addition, $5.5 million of such payments were
reported to have occurred in 2000 rather than in 2001, when such payments were actually
made.-

283. The press release further announced that Black and Radler had agreed

in writing to repay Hollinger Intemational the full amount of unauthorized payments

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received by them, with interest, and that Black had agreed to seek repayment in full from
Hollinger, Inc. of the amounts received by it, with interest, no later than June 1, 2004.
284. The November 17, 2003 press release also announced the Strategic
Process. The press release announced that Hollinger Intemational’s Board had retained
Lazard LLC to review and evaluate its strategic alternatives, including a possible sale of

Hollinger Intemational, a sale of one or more of` its major properties, or other possible

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transactions
285. The November 17, 2003 Press Release further stated that:

(a) Lord Conrad M. Black of Crossharbour. .. has advised the board
that, in light of the Strategic Process, he will retire as [CEO] . . .
and that he will devote his time and attention primarily to pursuing
the Strategic Process

(b) Lord Black said: “Now is the appropriate time to explore strategic
opportunities to maximize value for all shareholders of Hollinger
lnternational. We are delighted that Bruce Wasserstein and his
team at Lazard will be working With us to ensure the market is Well
aware of the substantial value of [Hollinger Intemational’s] assets
Reflecting my full support of this process, I will be devoting my
attention in coming months to achieving a successful outcome for
all Hollinger shareholders . . .”

(c) Lord Black has also agreed that during the pendency of the
Strategic Process, in his capacity as the majority stockholder of
[Hollinger, Inc.], he Will not support a transaction involving
ownership interests in [Hollinger, Inc.] if such transaction would
negatively affect [Hollinger Intemational’s] ability to consummate
a transaction resulting from the Strategic Process unless any such
transaction involving [Hollinger, Inc.] meets certain limited
conditions, and after reasonable prior notice to Hollinger
[lnternational] .

286. Black assisted in the drafting of and approved the November 17, 2003

Press Release prior to its publication Black understood that the press release would

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constitute a public disclosure of his intentions with respect to the Strategic Process as of
November 17, 2003.

287 . When Black approved the November l’i', 2003 Press Release, he was
not and had no intention of devoting his time and attention primarily to pursuing the
Strategic Process

288. The Barclays had for years been interested in purchasing Hollinger
Intemational’s London Daily Telegraph, but Black had repeatedly rebuffed their offers

289. In or about September l, 2003, David Barclay, in a letter to Black,
renewed his interest in purchasing the Telegraph and, in connection with that, offered to
discuss helping Hollinger, Inc. with its financing and becoming an investor in Hollinger,
Inc. and suggested a meeting between Black and himself or his son, Aidan Barclay.
Black responded that although he was willing to meet with the Barclays, the Telegraph
was not for sale.

290. On or about October 31, 2003, David Barclay again wrote to Black
reaffirming his interest in the Telegraph and proposing to meet On November 3, 2003,
Black wrote back to David Barclay that the Telegraph was not for sale. However, on
November ll, 2003, the day after he responded to the Special Committee’s letter, Black
wrote to David Barclay that Black had a “thought worthy of discussion.”

291. Shortly thereafter, during the week before the press release was issued,
Black met with Aidan Barclay to discuss effectuating a transaction at the Hollinger, Inc.
level which would allow the Barclays to control Hollinger Intemational’s Daily '
Telegraph newspaper. Black did not inform Hollinger Intemational’s Board of his

dealings with the Barclays

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292. As of November 15, 2003, the date that Black executed the
Restructuring Proposal with Hollinger lntemational, Black worked ceaselessly to
effectuate a transaction to sell his interest in Hollinger, Inc. for his own benefit rather
than for the benefit of all of Hollinger lntemational’s shareholders As of November 15,
2003, Black was secretly negotiating to sell his interest in Hollinger, Inc. to the Barclays,
among others.

293. On January 17, 2004, Black unveiled a transaction with the Barclays
which, if consummated, would have prevented Hollinger Intemational from realizing the
benefits of the Strategic Process by ending the process before the bidding had even
begun. Black revealed that he and the Ravelston intended to enter an agreement with
Press Holdings under which Press Holdings would purchase Ravelston’s controlling
interest in Hollinger, Inc. and make a tender offer to purchase all of the shares of
Hollinger, Inc. (the “Barclay Transaction”)

294. On or about January 19, 2004, Hollinger Intemational filed suit (the
“Delaware Action”) against Black, Hollinger, Inc. and Press Holdings to, among other
things, obtain a preliminary injunction to prevent the Barclay Transaction and to prevent
Black and Hollinger, Inc. from circumventing the Strategic Process

295. On February 26, 2004, following a three-day trial and based upon a
voluminous evidentiary record, Vice Chancellor Strine issued a comprehensive 130-page
decision finding in favor of Hollinger Intemational and against Hollinger, Inc. and Black
on all of the claims that were the subject of the evidentiary proceeding Hollinger

lnternational, Inc. v. Conrad M. Black, 844 A.2d 1022 (Del Ch. 2004).

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296. Among other things, Vice Chancellor Strine found that from
November 15, 2003 through at least January 18, 2004, Black, by and through Hollinger,
Inc., “persistently and seriously” violated his fiduciary duties and the Restructuring
Proposal to the detriment of Intemational and its non-controlling, majority shareholders
Vice Chancellor Strine further found that “. . . on November 17, 2003, Black began to turn
the Barclays away from their interest in a direct purchase of The Daily Telegraph and
towards a purchase of [Hollinger,] Inc.”

297. Vice_Chancellor Strine further found that “[s]tated bluntly, Black
steered the Barclays toward doing an end-run around the Strategic Process . . . .” Vice
Chancellor Strine concluded that “. . . .Black was supposed to be devoting his principal
time and energy to direct the [Hollinger] Intemational Strategic Process in order to
maximize the value of the Telegraph and other assets owned by [Hollinger] lntemational
for all [Hollinger] Intemational stockholders Instead, he devoted his principal energy to
crafting methods by Which he could sell [Hollinger] Inc. to the Barclays and assure them

that they would be able to stymie any sale of the Telegraph by Intemational’s boar .”

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COUN'I` I

Violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]
and Rule 10b-5 [1'7r C.F.R. § 240.10b-5] thereunder

(Defendants Black, Radler and Hollinger, Inc.)

298. Paragraphs l through 297 are realleged and incorporated by reference
herein.

299. From at least 1999 through at least 2003, Defendants Black, Radler
and Hollinger, Inc., in connection with the purchase and sale of Hollinger Intemational’s
securities, directly and indirectly, by the use of the means and instrumentalities of
interstate commerce, of the mails, or of the facilities of a national securities exchange:
employed devices, schemes and artifices to defraud; made untrue statements of material
fact and omitted to state material facts necessary in order to make the statements made, in
light of the circumstances under which they were made, not misleading; and engaged in
acts, practices and course of business which operated or would operate as a fraud and
deceit upon purchasers and sellers and prospective purchasers and sellers of such
securities

300. Defendants knew or were reckless in not knowing of the facts and
circumstances described in paragraphs 298 and 299 above.

301. The knowledge of Black and Radler is imputed to Hollinger, Inc.

302. By reason of the activities described in paragraphs 298 through 301
above, Defendants violated Section lO(b) of the Exchange Act [15 U.S.C. § 78j(b)] and

Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

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QM

Violations of Section 14(a) of the Exchange Act [15 U.S.C. § 78n(a)]
and Rules 14a-3 and 14a-9 [17 C.F.R. §§ 240.14a-3 and 240.14a-9] Thereunder

(Defendants Black and Radler)

303. Paragraphs 1 through 297 are realleged and incorporated by reference
as if set forth in full herein.

304. From at least 1999 through at least 2003, Defendants Black and
Radler, by the use of the means and instrumentalities of interstate commerce, of the
mails, or of the facilities of a national securities exchange or otherwise'. solicited or
permitted the use of their names to solicit proxies, consents, authorizations or notices of
meetings in respect of Hollinger lntemational’s securities which contained statements
which were false and misleading with respect to material facts or omitted to state material
facts necessary in order to make the statements therein not false or misleading or necessary
to correct any statement in any earlier communication with respect to the solicitation of a
proxy for the same meeting or subject matter which became false or misleading and which
failed to furnish information required under Exchange Act Rule l4a-3.

305. By reason of the activities described in paragraphs 303 and 304 above,
Black and Radler violated Section l4(a) of the Exchange Act [15 U.S.C. §78n(a)] and

Rules 14a-3 and 14a-9 [§§240.14a-3 and 240.l4a-9] thereunder.

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COUNT III
Violations of Section 13(a) of the Exchange Act [15 U.S.C. § 78t(a)]
and Rules 12b-20, 13a-1, and 133-13 [17 C.F.R. §§ 240.12b-20, 240.13a-1,
and 240.13a-13] Thereunder by Black, Radler and Hollinger, Inc. as control persons
under Section 20(a) of the Exchange Act 115 U.S.C. § 20(a)]
(Det`endants Black, Radler and Hollinger Inc.)

306. Paragraphs l through 297 are realleged and incorporated by reference
as if set forth in full herein

307. From at least 1999 through at least 2003, Hollinger Intemational,
under the control of Black, Radler and Hollinger, lnc., directly and indirectly, failed to
file or caused a failure to file with the Commission, in accordance with such rules and
regulations that the Commission has prescribed as necessary and appropriate in the public
interest and for the protection of investors, Hollinger lntemational’s annual and periodic
reports on Forms lO-Q and lO-K and annual proxy statements, and also failed to include
in those reports such further material information, as was necessary to make the required
statements, in light of the circumstances under which they were made, not misleading

308. By reason of the activities described in paragraphs 306 and 307 above,
Hollinger Intemational violated Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)]
and Rules l2b-20, l3a-l, and 13a-13 [17 C.F.R. §§ 240.12b-20, 240.l3a-l, and 240.l3a-
13] promulgated thereunder.

309. By reason of the activities described in paragraphs 306 through 308
above, and pursuant to Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)], Black,
Radler and Hollinger, Inc. are liable for Hollinger lnternational’s violations of Section

13(3) ofthe Exchange Aci [15 U.s.c. § ism(a)] and sales izb-zo, 133-1, and isa-13 [17

C.F.R. §§ 240.1 2b-20, 240. 13a-l , and 240.13 a-l 3] promulgated thereunder.

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COUNT IV
Violations of Sections 13(b)(2)(A) and l3(b)(2)(B) of the Exchange Act
[15 U.S.C. §§78m(b)(2)(A) and 78m(b)(2)(A)] by Black, Radler and Hollinger, Inc.
as Control Persons under Section 20(a) of the Exchange Act [15 U.S.C. § 20(a)]
(Def`endants Black, Radler and Hollinger, Inc.)

310. Paragraphs l through 297 are realleged and incorporated by reference
as if set forth in full herein

311. From at least 1999 through at least 2003, Hollinger lnternational,
under the control of Black, Radler and Hollinger, lnc., directly and indirectly, failed to
make and keep books, records, records and accounts, which in reasonable detail,
accurately and fairly reflected the transactions and dispositions of the assets of Hollinger
Intemational.

312. From at least 1999 through at least 2003, Hollinger Intemational,
under the control of Black, Radler and Hollinger, lnc., directly and indirectly, failed to
devise and maintain a system of internal accounting controls sufficient to provide
reasonable assurances that transactions were recorded as necessary to permit preparation
of financial statements in conformity with generally accepted accounting principles or
any other criteria applicable to such statements

313. By reason of the activities described in paragraphs 310 through 312
above, Hollinger Intemational violated Section 13(b)(2)(A) and l3(b)(2)(B) of the
Exchange Act [15 U.S.C. §§78m(b)(2)(A) and 78m(b)(2)(A)] promulgated thereunder.

314. By reason of the activities described in paragraphs 310 through 313
above, and pursuant to Section 20(a) of the Exchange Act, Black, Radler, and Hollinger,

lnc. are liable for Hollinger Intemational’s violations of Sections 13(b)(2)(A) and

i3(b)(2)(s) ofthe Exchange Act [15 U.s.c. §§ rsm(b)(z)(A) and vsm(b)(z)(s)j_

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COUNT V
Violations ol` Exchange Act Rule 13b2-1 [1'7 C.F.R. § 240.13b2-1]
(Defendants Black, Radler and Hollinger, Inc.)

315 . Paragraphs 1 through 297 are realleged and incorporated by reference

as if set forth in full herein
l 316. From at least 1999 through at least 2003, Defendants Black, Radler

and Hollinger, lnc., directly and indirectly, falsified or caused to be falsified books,
records, and accounts subject to Section 13(b)(2)(A) of the Exchange Act [15 U.S.C. §
73m(b)(2)(A)l-

317 . By reason of the activities described is paragraphs 315 and 316 above,
Black, Radler and Hollinger, Inc. violated Rule 13b2-l [17 C.F.R. § 240.13b2-l]
promulgated under Section 13(b)(2) of the Exchange Act [15 U.S.C. § 78m(b)(2)]_

COUNT VI
Violations of Section 13(b)(5) of the Exchange Act [15 U.S.C. § 78m(b)(5)]
(Defendants Black, Radler and Hollinger, Inc.)

318. Paragraphs l through 297 are realleged and incorporated by reference
as if set forth in full herein

319. Frorn at least 1999 through at least 2003, Defendants Black, Radler
and Hollinger, Inc. knowingly circumvented or knowingly failed to implement a system
of internal accounting controls and knowingly falsified books, records, and accounts

described in Section 13(b)(2) of the Exchange Act [15 U.S.C. § 78m(b)(2)].

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320. By reason of the activities described in paragraphs 318 and 319 above,
Black, Radler and Hollinger, Inc. violated Section l3(b)(5) of the Exchange Act [15
U.S.C. § 78m(b)(5)].

COUNT VII
Violations of Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)]
and Exchange Act Rules 13a-1 and 13a-16
[17 C.F.R. § 240.13a-1- and 17 C.F.R. § 240.l3a-16] Thereunder
(Dei`endant Hollinger, Inc.)

321. Paragraphs l through 297 are realleged and incorporated by reference
as if set forth in full herein

322. Hollinger, Inc. failed to file or caused a failure to file with the
Commission, in accordance With such rules and regulations that the Commission has
prescribed as necessary and appropriate in the public interest and for the protection of
investors, Hollinger, Inc.’S 2001 Form 40-F, 2002 Forms 20-F and 2002 proxy statement
on Form 6-K, and also failed to include in those reports such further material information
as was necessary to make the required statements, in light of the circumstances under
which they were made, not misleadingl

323. Hollinger, Inc. failed to file with the Commission, in accordance with
such rules and regulations that the Commission has prescribed as necessary and
appropriate in the public interest and for the protection of investors, Hollinger, Inc. ’s
2003 Form 20-F_

324. By reason of the activities described in paragraphs 321 through 323

above, Hollinger Inc., violated Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)]

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and Rules 13a-l and 13a-16 [17 C.F.R. §§ 240.l3a-l and 240.l3a-16] promulgated

thereunder.
COUNT VIII
Violations of Exchange Act Rule 13a-14
[17 C.F.R. § 240.13a-14]
(Defendant Black)

325. Paragraphs l through 297 are realleged and incorporated by reference
as if set forth in full herein

326. From at least March 31, 2003 until at least August 2003, Black

certified Hollinger Intemational reports filed on Forms 10-Q and Form 10-K pursuant to
Section 302 of the Sarbanes-Oxley Act of 2002 and Rule 13a-14 promulgated thereunder,
stating that: he had reviewed each report; based upon his knowledge, the reports did not
contain any untrue statement of a material fact or omit to state a material fact necessary to
make the statements made, in light of the circumstances under which such statements
were made, not misleading; and based upon his knowledge, the financial statements and
information contained in each report fairly present in all material respects the financial

n condition, results of operations and cash flows of the issuer.

327. Black knew or was reckless in not knowing that the reports he certified
contained untrue statements of material fact and omitted to state material facts necessary
to make the statements made therein, in light of the circumstances under which the
statements were made, not misleading

328. By reason of the activities described in paragraphs 325 through 327
above, Black violated Rule 13a-14 [17 C.F.R. § 240.13b2-1] promulgated under Section

302 of the Sarbanes-Oxley Act of 2002.

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RELIEF REQUES'I`ED

WHEREFORE, the Commission respectfully requests that this Court enter a

judgment
I.

Finding that each of the Defendants Black, Radler and Hollinger, Inc. committed
the violations alleged above;

II.

A. Perrnanently enjoining Defendants Black and Radler from further
violations of Sections 10(b), l3(b)(5) and l4(a) of the Securities Exchange A_ct of 1934
(“Exchange Act”) [15 U.S.C. §§ 78j (b), 78m(b)(5), and 78n(a)] and Rules 10b-5, l3b2-l,
14a-3 and 14a-9 [17 C.F.R. §§ 240.10b-5, 240.13b2-1, 240.14a-3 and 240.l4a-9]
thereunder, and, as control persons, Sections l3(a) and 13(b)(2)(A) and l3(b)(2)(B) of
the Exchange Act [15 U.S.C. §§ 78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules
12b-20, l3a-1, and 13a-13 [17 C.F.R. §§ 240.l2b-20, 240.13a-1, and 240.13a-13]
thereunder;

B. ?Permanently enjoining Defendant Black from further violations of
Exchange Act Rule 13a-14 [17 C.F.R. §§ 240.13a-l4]; and

C. Per'manently enjoining Defendant Hollinger, Inc. from further violations

l of Secti;ns lO(b), 13(a), 13(b)(5) of the Exchange Act [15 U.S.C. §§ 78j (b), 78m(a) and
78m(b)(5)] and Rules 10b-5, l3a-1, 13a-16 and13b2-l [17 C.F.R. §§ 240.10b-5, 240.l3a-
l, 240.13a-16 and 240.l3b2-l] thereunder and, as a control person, Sections l3(a) and
l3(b)(2)(A), 13(b)(2)(B) and 14(a) of the Exchange Act [15 U.S.C. §§ 78m(a),

ism(b)(z)(A) and rsm(b)(z)(s), rsn(a)] ana Rules izb_zo, 13a-n 133_13, 14a-3 ana

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14a-9 [17 C.F.R. §§ 240.12b-20, 240.13a-1, 240.l3a-13, 240.14a-3 and 240.14a-9]
thereunder.
Ill.

Ordering each of the Defendants Black, Radler and Hollinger, Inc. to disgorge
any ill-gotten gains and/or unjust enrichment realized by each of them, including the
salaries defendants Black and Radler received from Ravelston during the period from at
least 1999 through the end of their employment with Hollinger Intemational, plus
prejudgment interest thereon;

IV.

Ordering each of the Defendants Black, Radler and Hollinger, Inc. to each pay an l
appropriate civil monetary penalty pursuant to Section 21(d)(3) of the Exchange Act [15
U.S.C. § 78u(d)(3)];

V.

Barring Defendants Black and Radler from serving as an officer or director of any
issuer required to file reports with the Commission under Sections 12(b), 12(g), or lS(d)
of the Exchange Act [15 U.S.C. §§ 781(b), 781(g), and 780(d)], pursuant to Section
21(d)(2) of the Exchange Act [15 U.S.C. § 7 8u(d)(2)];

VI.

Imposing a voting trust upon the shares of Hollinger Intemational held, directly or

indirectly, by Defendants Black and Hollinger, Inc.;
VII.
Retaining jurisdiction over this action to implement and carry out the terms of all

orders and decrees that may be entered; and

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VIII.

Granting such other and additional relief as this Court deems just and proper.

Plaintiff demands a trial by jury.

 

 

Carol L. Tate
Rebecca R. Goldman

Attorneys for Plaintiff

U.S. Securities and Exchange
Commission

Midwest Regional Office

175 West Jackson Blvd.
Suite 900

Chicago, Illinois 60604

(312) 353-7390

Dated: November 15, 2004

 

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@HL § UNITED STATES DISTRICT COURT

NORTHERN DISTRIC'I` OF ILLINOIS

Civil Cover Sheet04@ 1

This automated JS 44 conforms generally to the manual .TS-44 approved by the Judicial Conference of the United States in September 1974
The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet The information contained herein

 

neither replaces nor supplements the filing and service of pleadings or other papers as required by law This form is authorized for use o_nlv in
the Northern District of Illinois.

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Plaintiff(s): Securities & Exchange Commission

Defendant(s):Conrad M. Black, F. David Radler and
Hollinger, Inc.
County of Residence: County of Residence:
Plaintiff‘s Atty: Kathryn A. Pyszka Defendant‘s h __ g_ l
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1. Original Proceeding
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Securities fraud pursuant to Section 10(b) [15 U. S. C. 78j(b)], Section 14(a) [15
U. S. C. 78n(a)], Section 13(a) [15 U. S. C. 78t(a)], and Section 13(b) [15 U. S. C.
78m(b)] of the Securities Exchange Act of 1934
Vll. Re_q__uested in Complaint
Class Action:

Dollar Demand:
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Vlll '.lhis case IS NOT a refiling of a previously dismissed case

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NORTHERN DISTRICT OF ILLINOIS

ln the Matter of

Securities & Exchange Commission v. Conrad M. Black, F. David Radler, and Hollinger, Inc.

    
 

   

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NORTHERN DISTRICT OF ILLINOIS

11 the Matter of
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